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                                                       Affidavit
1         Introduction:
          As a doctor, watching the haphazard unfolding of the pandemic, I couldn’t believe what was happening. Why wasn’t
2                  there a focus on prevention and early treatment from the start? Instead, hospitals wouldn’t admit anyone
                   with COVID until they were in severe condition, and there was still no treatments given, only a ventilator.
3                  In most cases, a ventilator is the last step before death. Often, when a machine does the breathing for us, we
                   lose the ability to breathe for ourselves. Ventilators were the go-to “treatment” for COVID, it appeared as
4                  though hospitals had something to benefit from people dying of COVID. In the meantime, the policies of
                   lockdowns, mask mandates and social distancing were sure to fail- what problem has ever been solved by
5                  avoiding it? In fact, these policies created even bigger problems. As the “Mass Psychosis” unraveled, fear
                   was instilled in people all over the globe, especially exaggerated by the media; we were then isolated from
6                  each other with ever increasing anxiety, depression and panic, to finally be presented with a solution: the
                   COVID-19 vaccines. However, the vaccines were mandated, not optional. We were already somewhat used
7                  to vaccine mandates, as our children are mandated to receive 34 doses from birth to age 18, here in
                   California, so the COVID-19 mandates weren’t much of a stretch. There are a multitude of problems with
8                  mandating vaccines, as outlined here. There are also safer, more effective options for prevention, treatment
                   and post-COVID care.
9         I. Improper Response to Pandemic:
          A. Lockdowns:
10   As global lockdowns and quarantines were enforced, 300 million people fell into dire poverty, food insecurity and
     starvation. https://www.tabletmag.com/sections/news/articles/the-war-on-reality-gutentag
11   How could world leaders knowingly enforce a non-science backed policy that would exploit and hurt so many people of
     the middle and lower class?
12
     According to the Associated Press, during 2020, 10,000 children died each month due to hunger from global lockdowns,
13   while 500,000 children per month experienced wasting and stunting from malnutrition, which can permanently damage
     developing children physically and mentally. https://apnews.com/article/virus-outbreak-africa-ap-top-news-
14   understanding-the-outbreak-hunger-5cbee9693c52728a3808f4e7b4965cbd
     Why were there no systems in place to protect innocent children from these tragic experiences?
15
     Deferred medical treatments for cancers, kidney failure and diabetes killed hundreds of thousands of people, as more
     serious, undiagnosed conditions skyrocketed for people who could not receive proper care at hospitals during the
16
     lockdowns. Megan Henney, “COVID’s economic fallout could elevate US mortality rate for years, study shows,” FOX
     BUSINESS (Jan. 5, 2021).
17
     What was the plan for these people? How is it that people paying for medical insurance had no access to medical care
     during this time?
18
     Lockdowns dramatically increased rates of child and spousal abuse, suicide, addiction, alcoholism, obesity, mental
19
     illness, developmental delays in children, isolation, depression, anxiety, and severe educational deficits, especially in
     young children.
20
     One-third of teens and young adults reported worsening mental health with suicidal ideation during the pandemic,
     according to an Ohio State University Study, and suicide rates among children rose by 50%.
21
     https://www.eurekalert.org/news-releases/545757
     Why was there such a lack of public programs to support people through these unprecedented times? Why was the
22
     mainstream media reluctant to report the human harm caused by the lockdowns?
23
     Approximately 93,000 Americans died of overdoses in 2020, which was a 30% rise over 2019.
     https://www.npr.org/2021/07/14/1016029270/drug-overdoses-killed-a-record-number-of-americans-in-2020-jumping-by-
24   nearly-30
     Prohibiting public assembly prevented many of the addiction recovery programs from helping people during the
25   lockdowns—especially during a time when many people needed the assistance and support the most. Why were there no
     other options for support?
26
     Synthetic opioid overdoses increased by 38.4% in 2020. https://emergency.cdc.gov/han/2020/han00438.asp
27   Were more doctors prescribing these, or were more patients abusing these? Either way, why aren’t there better
     regulations around opioid prescription and use?
28


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                                                        Affidavit
1    In 2020, 3 million children disappeared completely from public school systems, while ERs experienced a 31% increase in
     adolescent mental health visits. What are the short- and long-term consequences of the social, emotional, developmental,
2    and intellectual harm caused to these children from the COVID-19 lockdown polices? Why did these polices continue
     even as our understanding of their devastating harm to our children begin to reveal itself?
3
     Millions of hospital and nursing home patients died alone without final goodbyes from their beloveds.
4    https://www.cdc.gov/mmwr/volumes/69/wr/mm6945a3.htm
     https://www.tabletmag.com/sections/news/articles/the-war-on-reality-gutentag
5    How could we have provided these people with ways to die with greater dignity, humanity, and love at this time?

6    This is a meta-analysis study by John Hopkins Institute for Applied Economics on the effects of the lockdowns, and their
     conclusion was there was no significant effect of lockdowns on reducing mortality rates, however, there were major
7    economic consequences because of them.
     https://sites.krieger.jhu.edu/iae/files/2022/01/A-Literature-Review-and-Meta-Analysis-of-the-Effects-of-Lockdowns-on-
8    COVID-19-Mortality.pdf
     If lockdowns don’t reduce mortality, why was this the global strategy for arresting the virus? Will we learn from this in
9    the future, or will lockdowns continue to be the go-to method for dealing with epidemics/pandemics?

10   58 million Americans became unemployed during the pandemic, the highest rate since the 1930’s. A devastating number
     of small businesses were permanently bankrupted during the pandemic, including 41% of Black-owned businesses, some
11   of which took generations of investments to build. The business closures & bankruptcies contributed to the increase in
     the national deficit- the interest payments alone will cost roughly $1 trillion annually.
12   https://www.nbcnews.com/business/economy/unemployment-claims-state-see-how-covid-19-has-destroyed-job-
     n1183686
13   and
     https://www.cbpp.org/research/poverty-and-inequality/tracking-the-covid-19-economys-effects-on-food-housing-
14   and#:~:text=Many%20Workers%20Remained%20Sidelined%2C%20With,%2C%20moreover%2C%20understated%20j
     ob%20losses.
     Why were there no other options for suffering businesses, especially those of minorities, who may have already been
15
     struggling? How can we possibly make up this national deficit, without it costing taxpayers a fortune?
16
     In 2020, workers lost $3.7 trillion, while billionaires gained $3.9 trillion, destroying the middle class.
     https://www.trtworld.com/magazine/viral-inequality-billionaires-gained-3-9tn-workers-lost-3-7tn-in-2020-43674
17
     How could we allow this wealth disparity to occur? Will we ever be able to recover? Was there collusion between the
     business elite, corporate industries, and government agencies to intentionally destabilize the economy and thereby harm
18
     millions of innocent people and families?
19
     “We in the World Health Organization do not advocate lockdowns as a primary means of controlling this virus. We may
     well have a doubling of world poverty by next year. We’ll have at least a doubling of child malnutrition because children
20
     are not getting meals at school and their parents in poor families are not able to afford it. This is a terrible, ghastly, global
     catastrophe, actually, and so we really do appeal to all world leaders: Stop using lockdown as your primary control
21
     method… lockdowns just have one consequence that you must never ever belittle- and that is making poor people an
     awful lot poorer.” Professor David Nabarro, Senior Envoy on COVID-19, reporting to Director General on October 8,
22
     2020. https://www.youtube.com/watch?v=YdSpiLBQWV0
     Scholars foresaw some of the ramifications of lockdowns, with these warnings, how could the government continue to
23
     enforce them? When has hiding from a problem ever been a solution?
24   Millions facing poverty due to the pandemic: https://childrenshealthdefense.org/defender/pandemic-billionaires-inflation-
     poverty/
25   Many people are still struggling financially, why didn’t the government even try to support the majority of its citizens
     through this government mandated stay-at-home order? Why was economic assistance and recovery stopped despite the
26   fact many people were/are still struggling?
27

28


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                                                     Affidavit
1        B. Mandatory Masks:
     Masks are ineffective at preventing transmission of respiratory droplets, which are nanoparticles. In fact, masks may
2    actually increase infection by trapping the germs near the orifices. https://www.medicalnewstoday.com/articles/covid-19-
     and-face-masks-to-wear-or-not-to-wear#4.-Masks-might-harm-the-wearer
3    Why did the government choose to enforce mask policies, when masking asymptomatic people is pointless and does not
     reduce transmission?
4
     Surgeon General’s warning that masks may actually increase coronavirus risk:
5    https://www.cnn.com/2020/03/02/health/surgeon-general-coronavirus-masks-risk-trnd/index.html
     There were plenty of warnings along the way, why did the government continue to enforce mask wearing, despite these
6    warnings?

7    Dr. Fauci told 60 Minutes that only infected people should wear a mask, and that mask wearing does not offer protection
     to healthy people. He explained that healthy people wearing masks are more likely to contaminate themselves, and this
8    would contribute to a lack of masks for people who really need them.
     https://www.realclearpolitics.com/video/2020/05/12/flashback_march_2020_fauci_says_theres_no_reason_to_be_walkin
9    g_around_with_a_mask.htmlWas the government hoping to contaminate more people by enforcing these mask mandates?

10   Dr. Fauci further explained the pointlessness of masking asymptomatic people to HHS regulators, emphasizing that
     asymptomatic people do not drive the spread. https://www.c-span.org/video/?468647-1/hhs-secretary-azar-update-us-
11   response-coronavirus
     Why did the government never look further into this? Why did the government stick to this policy? Why did the
12   government ignore common sense and science?

13   “We do not currently recommend the use of face masks for the general American public. This virus is not spreading in
     your communities. While it is cold and flu season, we don’t routinely recommend the use of face masks by the public to
14   prevent respiratory illness, and we are certainly not recommending that at this time for this novel virus,” said Dr. Nancy
     Messonnier of the CDC in 2019. https://www.cdc.gov/media/releases/2020/t0131-2019-novel-coronavirus.html
     Facemasks are typically only necessary for infected people to prevent spread, why were healthy people forced to wear
15
     masks to prevent spread? Why were we made to believe that healthy people needed to be feared—is it because it is easier
     to control a fearful population?
16
     In an analysis of 15 randomized trials, they concluded that masks provided no additional protection than no mask.
17
     https://www.medrxiv.org/content/10.1101/2020.03.30.20047217v2
     Why didn’t the government take these studies into account, when deciding policies?
18
     In December 2020, a comprehensive study of 10 million Wuhan residents confirmed that asymptomatic transmission of
19
     COVID-19 is exceedingly rare. https://www.bmj.com/content/371/bmj.m4695
     Why has the government catastrophized contracting COVID-19 from asymptomatic people? Was this meant to isolate us
20
     in fear of each other?
21
     Harms associated with masking include increased respiratory and immune system illnesses, dermatological, dental,
     gastrointestinal and psychological injuries, according to a compilation of over 25 studies, 14 of which are randomized,
22
     peer-reviewed placebo studies. https://childrenshealthdefense.org/wp-content/uploads/Effectiveness-of-N95-respirators-
     versus-surgical-masks-in-protecting-health-care-workers-from-acute-respiratory-infection-a-systematic-review-and-meta-
23
     analysis.pdf
     If masks are more harmful than helpful, why were we mandated to continue wearing them?
24
     “Regional analysis in the United States does not show that mask mandates had any effect on case rates, despite 93%
25   compliance. Additionally, according to CDC data, 85% of people who contracted COVID-19 reported wearing a mask,”
     according to Gutentag https://www.tabletmag.com/sections/news/articles/the-war-on-reality-gutentag
26   If masks don’t reduce transmission, why was there so much emphasis on wearing masks for so long? Are masks
     inherently dehumanizing because they cover our faces and thus disconnect us from emotional and social expression and
27   engagement?
28


                                                                 3
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                                                       Affidavit
1        C. Social Distancing Mandates:

2    In September 2021, former FDA Commissioner Dr. Scott Gotleib admitted that the 6-foot distancing rule that Dr. Fauci
     and his HHS colleagues imposed upon Americans was arbitrary and not, after all, science backed. The process for
3    making that policy choice, Gotleib explained, “Is a perfect example of the lack of rigor around how CDC made
     recommendations.” https://www.forbes.com/sites/graisondangor/2021/09/19/cdcs-six-foot-social-distancing-rule-was-
4    arbitrary-says-former-fda-commissioner/?sh=238cdd32e8e6
     and https://twitter.com/FaceTheNation/status/1439582587173941248
5    How could these social distancing mandates be based on an arbitrary, non-scientific recommendation? Why would the
     government enforce these without looking further into their validity?
6
         D. Ineffective COVID Tests:
7
     The CDC and FDA misrepresented the effectiveness of the PCR Test, and used USA Today as their PR firm to help
8    spread the misinformation:
     https://www.brightworkresearch.com/how-the-cdc-fda-and-usa-today-misrepresented-the-effectiveness-of-covid-pcr-
9    tests/
     Forced testing of this nature had several issues: (1) people often had to take time off work to get tested (2) people often
10   had to pay out of pocket for testing (3) they often couldn’t return to work until the results of the test came back (4) it was
     possible they could contract COVID-19 by going to a test center (5) they could contract COVID-19 in the interim of
11   waiting for their negative test results- with all of these issues, why was PCR testing the gold standard?

12   COVID PCR testing does not differentiate between the flu, viral pneumonia and COVID. In fact, most positive results
     were false positives. https://www.brightworkresearch.com/how-the-cdc-fda-and-usa-today-misrepresented-the-
13   effectiveness-of-covid-pcr-tests/
     With no differentiation and many false positives, why was PCR testing relied upon so heavily and often mandated?
14
     Many rapid home testing kits for COVID actually contain a toxic substance, the public has now been warned about.
     https://www.usatoday.com/story/news/health/2022/02/28/covid-home-tests-pose-toxic-chemical-risk/9320904002/
15
     With the risk of toxicity, why should we store these home kits for future use, especially if they are ineffective and
     unreliable?
16
         E. Lack of Early Treatment for COVID-19:
17
     Harvey Risch is one of the leading global authorities in clinical treatment protocols. He is the editor of two high-gravitas
18
     journals and the author of over 350 peer-reviewed publications. Other researchers have cited those studies over 44,000
     times. Risch points out a hard truth that should have informed our COVID control strategy: “Unless you are an island
19
     nation prepared to shut out the world, you can’t stop a global viral pandemic, but you can make it less deadly. Our
     objective should have been to devise treatments that would reduce hospitalization and death. We could have easily
20
     defanged COVID-19 so that it was less lethal than a seasonal flu. We could have done this very quickly. We could have
     saved hundreds of thousands of lives.” https://ysph.yale.edu/profile/harvey_risch/
21
     In the beginning of the pandemic, why didn’t we focus on early treatment strategies, rather than waiting for people to be
     near death and then put them on ventilators? Early treatments, which can be performed at home, would have prevented
22
     the overcrowding in hospitals, did the hospitals have something to gain by allowing for overcrowding?
23
     Dr. Peter McCullough was an internist and cardiologist on staff at the Baylor University Medical Center and the Baylor
     Heart and Vascular Hospital in Dallas, Texas. His 600 peer-reviewed articles in the National Library of Medicine make
24   McCullough the most published physician in history in the field of kidney disease related to heart disease, a lethal sequela
     of COVID-19. Before COVID-19, he was editor of two major journals. His recent publications include over 40 papers on
25   COVID-19, including two landmark studies on critical care of the disease. His two breakthrough papers on the early
     treatment of COVID19 in The American Journal of Medicine (https://doi.org/10.1016/j.amjmed.2020.07.003 and
26   https://www.amjmed.com/article/S0002-9343(20)30673-2/fulltext) and Reviews in Cardiovascular Medicine
     https://pubmed.ncbi.nlm.nih.gov/33387997/ in 2020 are, by far, the most downloaded documents on the subject.
27   Dr. McCullough--a distinguished and highly regarded physician—has pioneered much of the information regarding
     pharmaceutical COVID-19 Early Treatment Protocols, why has this information been purposely suppressed and labeled
28   as misinformation?

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                                                       Affidavit
1
     McCullough observes that, “We could have dramatically reduced COVID fatalities and hospitalizations using early
2    treatment protocols and repurposed drugs including ivermectin and hydroxychloroquine and many, many others.” Dr.
     McCullough has treated some 2,000 COVID patients with these therapies. McCullough points out that hundreds of peer-
3    reviewed studies now show that early treatment could have averted some 90 percent of deaths attributed to COVID.
     https://www.amjmed.com/article/S0002-9343(20)30673-2/fulltext
4    Why didn’t lawmakers, hospitals, and other regulatory agencies create early treatment protocols in the first place? Why
     were doctors being punished for repurposing pharmaceuticals for use with COVID, when repurposing medications is
5    common practice?

6    “The strategy from the outset should have been implementing protocols to stop hospitalizations through early treatment of
     Americans who tested positive for COVID but were still asymptomatic. If we had done that, we could have pushed case
7    fatality rates below those we see with seasonal flu and ended the bottlenecks in our hospitals. We should have rapidly
     deployed off-the-shelf medications with proven safety records and subjected them to rigorous risk/benefit decision-
8    making,” McCullough continues. “Using repurposed drugs, we could have ended this pandemic by May 2020 and saved
     500,000 American lives, but for Dr. Fauci’s hard-headed, tunnel vision on new vaccines and remdesivir.”
9    What was the agenda here? Why were hospitals employing a watch-and-wait strategy, waiting until people were severely
     ill to initiate treatment? Why were thousands of people allowed to die when effective medical treatment was available?
10   Did the cheap and ubiquitous nature of some of these early treatment medicines threaten the windfall of profits expected
     for vaccine manufacturers?
11
     Pulmonary and critical care specialist Dr. Pierre Kory agrees with McCullough’s estimate. “The efficacy of some of these
12   drugs as prophylaxis is almost miraculous, plus early intervention in the week after exposure stops viral replication and
     prevents development of cytokine storm and entrance into the pulmonary phase,” says Dr. Kory. “We could have stopped
13   the pandemic in its tracks in the spring of 2020.”
     Why were doctors, who were employing these strategies not taken seriously? Why were their life-saving protocols
14   ignored and demonized?

     Risch, McCullough, and Kory are among the large conglomerate of experts (including Nobel Laureate Luc Montagnier)
15
     who argue that, by treating infected patients at home during the early stages of the illness, we could have averted
     cataclysmic lockdowns and found medicine resources for protecting vulnerable populations while encouraging the spread
16
     of the disease in age groups with extremely low-risk, in order to achieve permanent herd immunity. They point out that
     natural immunity, in all known cases, is superior to vaccine-induced immunity, being both more durable (it often lasts a
17
     lifetime) and broader spectrum—meaning it provides a shield against subsequent variants. “Vaccinating citizens with
     natural immunity should never have been our public health policy,” says Dr. Kory.
18
     https://pubmed.ncbi.nlm.nih.gov/32458969/
     https://covid19criticalcare.com/wp-content/uploads/2021/01/FLCCC-Alliance-member-CV-Kory.pdf
19
     Since the spike proteins in the COVID vaccines are roughly twice as strong as those of the natural infection, those who
     have had the natural infection and then become vaccinated are at higher risk for adverse events such as myocarditis, blood
20
     clots, and thromboembolic events, why were those with natural immunity still required to get vaccinated?
21
     Doctors who worked on early treatment protocols were censored, fired and some even had their medical licenses revoked.
     Dr. Robert Malone, the inventor of the mRNA technology spoke out against the misuse of this technology with the
22
     COVID vaccines, and he was even censored, accused of “spreading misinformation.” https://www.msn.com/en-
     us/money/other/exclusive-big-tech-censored-dozens-of-doctors-over-800-accounts-for-covid-19-misinformation-study-
23
     shows/ar-AATF84F
     Why was it that anyone who questioned the safety of the COVID vaccines was censored, publicly shamed, and accused of
24   spreading misinformation? How could we not examine the glaring safety concerns of the new RNA technology especially
     when the inventor of this technology repeatedly expressed such grave concern?
25
     The Chinese published their own early treatment protocol on March 3, 2020, using many of the same categories of
26   prophylactic and early treatment drugs uncovered by McCullough—chloroquine (a cousin of hydroxychloroquine),
     antibiotics, anti-inflammatories, antihistamines, a variety of steroids, and probiotics to stabilize and fortify the immune
27   system and apothecaries of traditional Chinese medicines, vitamins, and minerals, including a variety of compounds
     containing quercetin, zinc, and glutathione precursors. The Chinese made early treatment the central priority of their
28


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                                                      Affidavit
1    COVID strategy. https://www.chinalawtranslate.com/wp-content/uploads/2020/03/Who-translation.pdf Why did the
     United States never make early treatment the central priority in its COVID-19 strategy?
2
     38 COVID-19 early treatments.
3    database of 543 potential treatments. There are 71 countries that have approved early treatments. Other countries had
     early treatment protocols, what took the United States so long to implement them?
4
     COVID-19 early treatment: real-time analysis of 1,524 studies https://c19early.com/ With so many scientific studies
5    proving the safety and efficacy of early treatment COVID-19 protocols, why did our government and health agencies
     continue to ignore these treatments that could have saved thousands of lives and put an end to the pandemic?
6
         II. Suppression of Pharmaceutical Treatments for COVID:
7
         A. Hydroxychloroquine & Ivermectin:
8
     See 163 cited resources regarding Hydroxychloroquine and 102 cited resources for Ivermectin in Appendix A
9
     HHS’s early studies supported hydroxychloroquine’s efficacy against coronavirus since 2005, and by March 2020,
10   doctors from New York to Asia were using it against COVID with great success rates.

11   Hydroxychloroquine is a 65-year-old formula that regulators around the globe approved as both safe and effective against
     a variety of illnesses. HCQ is an analog of the quinine found in the bark of the cinchona tree that George Washington
12   used to protect his troops from malaria. For decades, WHO has listed HCQ as an “essential medicine,” proven effective
     against a long list of ailments. It is a generally benign prescription medicine, far safer—according to the manufacturer’s
13   package inserts—than many popular over-the-counter drugs.
     With great safety and efficacy, why was HCQ suppressed and unavailable in the U.S.?
14
     “We had terrific data on ivermectin, from the medical teams in Bangladesh and elsewhere by early summer 2020. So now
     we had two cheap generics.” McCullough and his growing team of 50+ front-line doctors discovered that while HCQ and
15
     IVM work well against COVID, adding other medications boosts outcomes drastically. These included azithromycin or
     doxycycline, zinc, vitamin D, Celebrex, bromhexine, NAC, IV vitamin C, and quercetin. McCullough’s team realized
16
     that, like hydroxychloroquine and ivermectin, quercetin—that ubiquitous health store nutraceutical—is an ionophore—
     meaning that it facilitates zinc uptake in the cells, destroying the capacity of coronavirus to replicate.
17
     With so many great early treatment and late treatment protocols, why weren’t any of these adopted into common practice
     in the U.S.?
18
     In the United States, the FDA has approved HCQ without limitation for 65 years, meaning that physicians can prescribe it
19
     for any off-label use. CDC’s information sheet deems hydroxychloroquine safe for pregnant women, breastfeeding
     women, children, infants, elderly and immune-compromised patients and healthy persons of all ages.
20
     With such high safety and efficacy, why was HCQ not a part of the common practice for COVID treatment?
21
     Africans call HCQ “Sunday-Sunday” because millions of them take it religiously, once a week, as a malaria prophylaxis.
     It’s probably not a coincidence that these nations enjoyed some of the world’s lowest mortality rates from COVID. HCQ
22
     is the #1 most used medication in India, the second-most populous nation on the planet, with 1.3 billion people. Prior to
     the COVID pandemic, HCQ and its progenitor, chloroquine (CQ), were freely available over the counter in most of the
23
     world, including France, Canada, Iran, Mexico, Costa Rica, Panama, and many other countries.
     Why wasn’t HCQ utilized here?
24
     By mid-2020, more than 200 studies supported successful COVID-19 treatment with hydroxychloroquine, and 60 studies
25   supported ivermectin.
     Whey were these medications demonized, and why were doctors often punished for prescribing them?
26
     Today, some 200 peer-reviewed studies (C19Study.com) by government and independent researchers deem HCQ safe
27   and effective against Coronavirus, especially when taken prophylactically or when taken in the initial stages of illness
     along with zinc and Zithromax.
28


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                                                     Affidavit
1    Two Merck scientists won the Nobel Prize for developing ivermectin (IVM), a drug with unprecedented firepower against
     a wide range of human parasites, including roundworm, hookworm, river blindness, and lymphatic filariasis.1 That salute
2    was the Nobel Committee’s only award to an infectious disease medication in 60 years. FDA approved IVM as safe and
     effective for human use in 1996. WHO includes IVM (along with HCQ) on its inventory of “essential medicines”—its list
3    of remedies so necessary, safe, efficacious, and affordable that WHO deems easy access to them as essential “to satisfy
     the priority health care needs of the population.” https://www.who.int/publications/i/item/WHO-MHP-HPS-EML-
4    2021.01

5    WHO has recommended administering ivermectin to entire populations to treat people who might have parasitic
     infections—meaning they consider it safe enough to give to people who haven’t even been diagnosed. Millions of people
6    have consumed billions of IVM doses as an antiparasitic, with minimal side effects. Ivermectin’s package insert suggests
     that it is at least as safe as the most popular over-the-counter medications, including Tylenol and aspirin.
7
     With such a safety profile, why was Ivermectin labeled as a horse anti-parasitic by the media? As a prescriber, I had a
8    difficult time finding a pharmacy that would allow me to prescribe Ivermectin for my COVID-infected patients, why were
     the pharmacies having to limit this medication’s use?
9
     “COVID Treatments were deliberately suppressed by federal agencies, biopharmaceutical agencies, medical complexes,
10   hospitals, licensing boards and pharmacy boards. The timing of this was just prior to the launching of a $200B vaccine
     campaign. In the Summer of 2020, the FDA forbade doctors from using HCQ to treat COVID. They claimed the
11   mechanism of action was unknown, even though the mechanism was already well known, HCQ immediately stops viral
     replication of COVID-19. A compilation of over 200 peer reviewed studies show that treatment using a combination of
12   HCQ and IVM could have prevented 85% of deaths, if patients had received these treatments early on. Places on earth
     where malaria is a threat, such as Africa and India, many people are on HCQ prophylactically and their death rates are
13   1/200th of that of the U.S. In fact, all of the countries who used HCQ had dramatically lower death rates from COVID,
     than did the U.S. Ivermectin came along in the second year of the pandemic with even more supportive studies and
14   randomized trials to support its effectiveness, and then the NIH and the AMA launched a war against Ivermectin. The
     AMA launched a campaign against Ivermectin- the first time something like this had ever been done in history. At this
     point, Ivermectin had been found effective worldwide and there were over 2,000 government guidelines from around the
15
     world, using Ivermectin as an effective treatment for COVID. Even suppression of corticosteroids took place, in regards
     to treating COVID. From the very beginning of the pandemic, the public was told over and over that there were no viable
16
     treatments for COVID.” : https://childrenshealthdefense.org/defender/covid-treatments-suppressed-dr-peter-mccullough-
     john-leake-rfk-jr-podcast/
17
     How many people had to die unnecessarily because well-known, safe and effective treatments had been suppressed in the
     U.S.? Who would benefit financially from suppression of these medications, could it be the vaccine manufacturers? Who
18
     else would benefit financially from the launch of COVID vaccines?
19
     There are other significantly less risky treatments that have been proven to successfully treat COVID, especially if the
     treatment is early in the disease state. Prompted by the Nebraska Health Department, on October 15th, 2021, Nebraska
20
     Attorney General Doug Peterson issued a legal opinion that Nebraska healthcare providers can legally prescribe off-label
     medications like ivermectin and hydroxychloroquine for the treatment of COVID-19. He accused the FDA, CDC, Fauci,
21
     and the media for “fueling confusion and misinformation” regarding the use of these medications. Below is a link to his
     legal opinion based on an assessment of the relevant scientific literature.
22
     https://ago.nebraska.gov/sites/ago.nebraska.gov/files/docs/opinions/21-017_0.pdf
     This misinformation was being propelled by the regulatory agencies- aren’t these the same agencies, who are protecting
23
     the greater good and the health of all Americans?
24   There have been over 300 trials and doctor testimonials from around the world attesting to the safety and effectiveness of
     treating COVD-19 with hydroxychloroquine. Scientists recently published a natural trial in the International Journal of
25   Clinic Practice. The authors reported that the “COVID-19 regimen containing both HCQ and azithromycin can be helpful
     to promote the recovery of most patients and reduced their signs and symptoms significantly.”
26   https://onlinelibrary.wiley.com/doi/10.1111/ijcp.13856
       With unanimous, life saving results around the globe, why weren’t we using these medications in the U.S.?
27
     Despite these facts, the push to diminish the use of treating COVID-19 with hydroxychloroquine remain. Two major
28   hydroxychloroquine studies that undermined its use in treating COVID-19 patients were retracted from prestigious

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1    journals only two weeks after their publications. The Lancet and the New England Journal of Medicine retracted the
     papers when the co-authors during the peer review process said they could no longer vouch for the “veracity of the
2    primary data sources.” These studies—retracted for valid concerns of academic scientific fraud— nonetheless, tainted the
     reputation of using hydroxychloroquine to successfully treat COVID-19. https://www.tctmd.com/news/covid-19-upset-
3    researchers-retract-lancet-nejm-papers-hydroxychloroquine-aceiarbs
     According to the U.S. Food and Drug Administration (FDA), “For the FDA to issue an EUA, there must be no adequate,
4    approved and available alternative to the product.” Hydroxychloroquine and ivermectin were approved, adequate and
     available — and cheap. Were these cheap, effective, easily accessible treatments for COVID suppressed to support the
5    injection-vaccine agenda?

6         III. Many doctors were fired or had their medical licenses revoked for using Hydroxychloroquine and
                    Ivermectin
7    Doctors Sue FDA for suppression of Ivermectin, interfering with their ability to practice medicine:
     https://childrenshealthdefense.org/defender/doctors-fda-ivermectin-patients/
8    How many people had already died from COVID due to lack of access to this medication? How many doctors had their
     medical licenses revoked or were fired, censored and publicly shamed for using these medications to save lives?
9

10   These are outspoken, well researched, and very reputable scientists and doctors calling for a different approach to the
     harming impact of Covid policies.
11
             Dr. Peter McCullough’s early treatment protocol and mechanisms of action:
12            https://covid19.onedaymd.com/2021/11/dr-peter-mccullough-early-treatment.html

13           Dr. Robert Malone, inventor of mRNA technology, holds 9 patents as the originator of mRNA. He now speaks
              out about it’s dangerous misuse in COVID vaccines:
14           https://drpierrekory.com/

15           Dr. Pierre Kory speaks out again SADS- Sudden Adult Death Syndrome, a new phenomenon associated with the
              COVID vaccines: https://greenmedinfo.com/blog/latest-tragedy-sudden-adult-death-syndrome and
16            https://pierrekory.substack.com/p/nursing-reports-from-the-front-lines?s=r

17
             Dr. Ryan Cole speaks out about COVID vaccine adjuvants causing blood cancers and infertility:
18            https://www.rcolemd.com/post/sound-the-alarm-covid-vaccines-fertility-blood-cancers-and-children

19
             Dr. Richard Urso- accused of malpractice for using HCQ to successfully treat COVID patients. He speaks about
20            post-booster adverse events and censorship of COVID treatments:
              https://www.youtube.com/watch?v=YQ2AtLVvg5I
21

22           Dr. Brian Tyson- a pioneer of early treatment of COVID with zero deaths. He explains is perspective about the
              pandemic: https://www.youtube.com/watch?v=fe1TqxvXKTs
23

24           Dr. Kat Lindley has presented data to policy makers on multiple occasions to prevent COVID vaccine mandates
              for children: https://worldcouncilforhealth.org/news/2022/06/vrbpac-fda-kat-lindley/77161/
25

26           Dr. Kirk Milhoan is a pediatric cardiologist, who speaks out about early treatment. He has seen so much heart
              damage due to COVID vaccines, and warns against them: https://www.youtube.com/watch?v=fdrmjqfVJ-s
27
             Conglomerate of doctors from around the world bringing awareness to COVID treatment, promoting natural
28            immunity, and warning about vaccine injury and death: https://globalcovidsummit.org/


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2    Top ICU Doctor Suspended After Suing Hospital for Banning Life-Saving COVID Treatments: In an exclusive interview
     with The Defender, Dr. Paul Marik said patients are dying “unnecessarily and unlawfully” because the hospital where he
3    is director of the ICU prioritizes expensive drugs like Remdesivir while banning more effective and less costly treatments.
     https://childrenshealthdefense.org/defender/paul-marik-lawsuit-hospital-remdesivir-ban-life-savingdrugs/
4
     When doctors speak out to educate the public about early treatment strategies and vaccine injuries, why are they being
5    censored and silenced? Does their censorship have anything to do with Big Pharma’s vaccine-pushing agenda? As
     doctors, we take an oath to Do No Harm, so when we see our patients harmed from suppression of treatments and vaccine
6    injuries, it is our duty to do what is right, help them and protect them, why are so many of doctors being punished for
     this?
7
         I.    Suppression of Natural Prevention & Tx by Big Pharma
8
     History of How Big Pharma Started by suppressing natural medicine:
9
     Statement (History of Pharma Cartel)
10   In 1911, the Supreme Court of the U.S. found John Rockefeller and his Trust guilty of corruption, illegal business
     practices and racketeering. In order to disperse public and political pressure on him and other robber-barons, Rockefeller
11   used “philanthropy” as a distraction and used the illegal gains from his robber-practices in the oil business to launch the
     Rockefeller Foundation. This tax haven was used to strategically take over the health care sector in the U.S..
12
     The Rockefeller Foundation was the front organization for a global business venture for a pharmaceutical investment
13   business focused on patents and synthetic drugs, especially those made from petroleum. At the same time, vitamins and
     other micronutrients were also being discovered, and their efficacy proven. Because vitamins and micronutrients could
14   not be patentable, their market was perceived as a direct threat to the pharmaceutical investment business. Thus, the
     Rockefeller Foundation began its campaign to dilute and make impotent the vitamin and micronutrient market.
15
     The Rockefeller Foundation used the Spanish flu epidemic – and the media (that it already controlled by this time) – to
16   start a witch-hunt on all forms of medicine that were not covered by its patents. Within the next 15 years, all medical
     schools in the U.S., most hospitals and the American Medical Association all essentially became pawns on the chessboard
17   of Rockefeller’s strategy to subjugate the entire health care sector under the monopoly of his pharmaceutical investment
     business.
18
     Additionally, after WWII the Rockefeller brothers influenced the creation of the United Nations in 1945. Founded as
19   organizations to allegedly serve the wellbeing of the people of the world, the UN’s subsidiary organizations, such as the
     World Health Organization (WHO) and World Trade Organization (WTO), soon turned out to be nothing more than the
20   political arms of the global oil and drug interests.

21   On behalf of the Rockefeller interests, the German government (serving as the post WWII puppet to the Rockefeller
     pharmaceutical interests) spearheaded one of the most infamous efforts ever made within the United Nations. Under the
22   pretense of consumer protection, it launched a four-decade-long crusade to outlaw vitamin therapies and other natural,
     non-patentable health approaches in all member countries of the United Nations. The goal was to simply ban any and all
23   competition for the multi-billion dollar business with patented drugs.

24   Since the marketplace for the pharmaceutical investment business depends upon the continued existence of diseases, the
     drugs it developed were not intended to prevent, cure or eradicate disease. Thus, the goal of the global strategy was to
25   monopolize health for billions of people, with pills that nearly cover symptoms but hardly ever address the root cause of
     disease. The deprivation of billions of people from having access to life saving information about the health benefits of
26   natural health approaches, whilst at the same time establishing a monopoly with largely ineffective and frequently toxic
     patented drugs, caused disease and death in genocidal proportions. This epidemic of unnecessary disability and death by
27   the pharmaceutical business with disease is unparalleled in history. https://www.dr-rath-foundation.org/2007/05/the-
     history-of-the-pharma-cartel/?fbclid=IwAR1dPAmRkLfybrwzBF7bx61iq7yrRwe4k6I0syPhTPz48HRjXQ6UwJ6H5Os
28


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1    When Flexner researched his report, "modern" medicine faced vigorous competition from several quarters, including
     osteopathic medicine, chiropractic medicine, electrotherapy, eclectic medicine, naturopathy, and homeopathy.[24] Flexner
2    clearly doubted the scientific validity of all forms of natural medicine, deeming any approach to medicine that did not
     advocate the use of treatments such as vaccines to prevent and cure illness as tantamount to quackery and charlatanism.
3    Medical schools that offered training in various disciplines including electromagnetic field therapy, phototherapy, eclectic
     medicine, physiomedicalism, naturopathy, and homeopathy, were told either to drop these courses from their curriculum
4    or lose their accreditation and underwriting support. A few schools resisted for a time, but eventually most complied with
     the Report or shut their doors. https://archive.org/details/carnegieflexnerreport
5

6    Questions:
     Why would the government allow Rockefeller, Carnegie and the Flexner Report close down hundreds of natural medicine
7    colleges all over the United States? What was in it for the government to allow this? Synthetic pharmaceuticals have
     long lists of side effects, whereas most natural treatments have few to none, how could the government allow this sick
8    system to be built in the first place? Herbal medicines cannot be patented unless they are GMO’ed, in which case, they
     are no longer medicinal, how could patented medicine become the gold standard of health care in America? What other
9    alternatives exists to ameliorate or heal from diseases on the vaccine schedule that are not patented pharmaceutical
     products?
10

11
     Natural Treatments Suppressed:
12               a. Homeoprophylaxis- a safe and effective method of immunizing, used for over 200 years. In many
                    countries around the world, Homeoprophylaxis is the primary way of immunizing. There are
13                  homeoprophylacitic remedies for every infectious disease that exists, whether or not there are vaccines
                    for those diseases. The remedies are very inexpensive, easy for people to take on their own, without the
14                  need for a medical practitioner to administer it to them. There are zero deaths, injuries or adverse
                    events from homeoprophylaxis, and it has a much higher effectiveness, than do vaccines of any type.
15                  https://nourishingourchildren.files.wordpress.com/2016/05/hp-footnotes.pdf

16                          i. Homeoprophylaxis-- also called Homeopathic Prophylaxis or "HP"-- is a non-toxic and proven
                               method of protection from infectious diseases that has been in use for more than 200 years.
17                             Thanks to the tireless work of certain homeopaths, including Dr. Isaac Golden, in Australia,
                               and Ravi Roy and Carola Lage-Roy, in Germany, more and more people are again learning
18                             about it.
                               https://web.archive.org/web/20180823181550/http://hpworldwidechoice.info/What_is_Homeo
19                             prophylaxis.php

20                          ii. Dr. Golden developed a program in Australia for homeoprophylaxis which has been subjected
                                to a 15 year clinical study and ongoing trials. The results of this study, including conclusive
21                              documentation of the safety and efficacy of HP, are published in his recent publication,
                                Homeoprophylaxis - A Fifteen Year Clinical Study. This program has been adapted to reflect
22                              the needs of families internationally.
                                https://www.littlemountainhomeopathy.com/homeopathic-immunizations-a-proven-
23                              alternative-to-vaccinations

24                                  1.   A very interesting finding of his work is the improved long term health outcomes of
                                         children using homeoprophylaxis instead of conventional vaccination. There were
25                                       also improved long term outcomes when compared with unvaccinated children. It
                                         seems that allowing exposure to the natural disease in energetic form carries this
26                                       benefit without any of the risks. 17 https://www.organiclifestylemagazine.com/all-
                                         natural-homeopathic-immunizations-homeoprophylaxis-is-a-proven-alternative-to-
27                                       vaccines

28                         iii. Ravi Roy and Carola Lage-Roy have been using homeopathic prophylaxis in their practise for
                                more than thirty years, and have also been studying, documenting, teaching, and publishing

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1                  about it to the great benefit of those in German-speaking nations. In addition, they have
                   traveled to many countries to teach and work regarding HP. https://www.narayana-
2                  verlag.com/homoeopathie/pdf/Homeopathic-Guide-for-Travelers-Ravi-Roy-Carola-Lage-
                   Roy.11028_1Contents.pdf
3
               iv. The goal of HP is to introduce into the system non-toxic versions of particular diseases to
4                  naturally stimulate, or "educate" the immune system. As a result, susceptibility to targeted
                   diseases has been documented to be reduced by, on average, 90%. No method of disease
                   prevention will ever offer 100% effectiveness. But because HP has a more than 200-year
5
                   record behind it-- and it is completely non-toxic-- the knowledge and use of HP should be
                   encouraged.
6
                   https://web.archive.org/web/20180823181550/http://hpworldwidechoice.info/What_is_Homeo
                   prophylaxis.php
7
               v. “HP is the use of diluted and potentized disease products, called “nosodes” to elicit an immune
8                 response. This response will educate the immune system in a way that has been clinically
                  shown to reduce the incidence of both infectious as well as chronic disease.
9

10                     1.   The goal of HP is the same as conventional vaccination – disease protection and
                            improved health. The differences are many. The most obvious is the purity of nosodes
11                          compared to conventional vaccines. HP nosodes contain no additives whatsoever. No
                            antibiotics, no preservatives, no detergents no foreign DNA, or unknown viruses or
12                          foreign DNA are present.

13
                       2.   HP nosodes are administered on small sugar pellets. They dissolve on the tongue and
14                          enter the system by way of the natural route past mucous membrane. Here the natural
                            process of disease recognition can begin in the way that Mother Nature intended.
15                          Bypassing this route by injecting a substance directly into the blood stream is like an
                            ambush attack to the immune system. There is no opportunity to mount a preliminary
16                          response in a biologically appropriate way.

17
                       3.   HP is given one disease at a time, as the human economy can manage effectively. If a
18                          child is sick, it is best to allow him to get well before introducing any other diseases
                            to his system. Most medical professionals would say it is inadvisable to be giving a
19                          vaccine at that time. The Center for Disease Control and Prevention states that you
                            should not vaccinate your child if he is “moderately or severely sick, with or without
20                          a fever.” 7

21
                       4.   To summarize, homeoprophylaxis, or HP, is a disease prevention method that uses
22                          diluted and potentized disease particles. It respects the immune system by only
                            introducing one disease at a time through a natural route of administration passing
23                          through mucous membrane.

24
                       5.   The nosodes contain no adjuvants, preservatives, antibiotics, or detergents, and are
                            not grown on mediums such as animal tissues containing foreign DNA or unknown
25
                            viruses.” https://www.organiclifestylemagazine.com/all-natural-homeopathic-
                            immunizations-homeoprophylaxis-is-a-proven-alternative-to-vaccines
26

27
               vi. This is a thesis document, which thoroughly explains Nosodes, how they work, effectiveness
                   and safety, while also a compilation of research:
28                 https://harvest.usask.ca/bitstream/handle/10388/12810/CAMERON-THESIS-2020.pdf

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1                        vii. COMPILATION of HP Nosode studies through history, please read this document:
                              https://homeopathyplus.com/Homeoprophylaxis-Human-Records-Studies-Trials.pdf
2
                        viii. Since the 1800’s, HP has been used for scarlet fever, cholera,8 smallpox,
3                             polio,9, 10 pertussis,11 diphtheria,12 influenza,13 meningitis,14 Leptospirosis15 and more. The
                              application as an alternative to the recommended government vaccine schedule is relatively
4                             new. https://www.organiclifestylemagazine.com/all-natural-homeopathic-immunizations-
                              homeoprophylaxis-is-a-proven-alternative-to-vaccines
5                        ix. The largest trial of the short-term use of HP was against an outbreak of Meningococcal disease
                             (meningitis) in Brazil. The researchers gave 65,826 children the homeopathic remedy
6                            Meningococcinum. Another 23,539 were not protected. The effectiveness of HP after 6 months
                             was 95%, and after a 12 months follow-up was 91%.
7                            https://www.littlemountainhomeopathy.com/homeopathic-immunizations-a-proven-
                             alternative-to-vaccinations
8
                          x. The Indian Government Central Council for Research in Homeopathy (CCRH) reports how it
9                            curtailed epidemics of bacillary dysentery, chikungunya, cholera, conjunctivitis, Dengue fever,
                             fevers, flu-like illness, gastroenteritis, Japanese encephalitis, jaundice, kala-azar, lymphatic
10                           filiariasis, malaria, measles, meningitis, plague, and typhoid with homeopathy.
                             https://homeopathyplus.com/india-uses-homeopathy-for-epidemics/
11
                         xi. Between 2004 and the present, trials carried out in Cuba for cholera, dengue fever, swine flu,
12                           pneumonia, hepatitis A, leptospirosis (28), and the current coronavirus (29-31) have produced
                             stunning effects, showing disease prevention rates between 85 percent and 97 percent. If we
13                           stop for a moment and consider the benefits of homeopathy, its track record in epidemics, the
                             ease of distribution (no needles or cold chain required), plus the absolute safety of this natural
14                           method, it seems a rational and obvious choice during epidemics. Considering our ever-
                             expanding awareness of our relationship with bacteria and viruses and the role they play in
15                           health and evolution, we would be well served to interface with microbes in the gentle manner
                             that homeopathy allows. https://homeopathic.com/the-history-of-homeopathy-in-epidemics-
16                           by-cilla-whatcott-hd-rhom-cch/
                         xii. Homeopathy Research Based References:
17
                              Homeopathy-Research-Evidence-Base-05-15-2019.pdf (homeopathyusa.org)
18                      xiii. More publications regarding HP:
                                 1. Birch, K. and C. Whatcott (2014). "Effectiveness of homeoprophylaxis for infectious
19                                   disease prevention." Homeopathy 103(1): 82-83.
                                 2. Bracho, G. (2014). "Homeoprophylaxis: evidence from basic research and practical
20                                   applications." Homeopathy 103(1): 64.
                                 3. Golden I, Bracho G. A reevaluation of the effectiveness of homeoprophylaxis against
21                                   leptospirosis in Cuba in 2007 and 2008. J Ev Based Comp Alt Med.

22   The Solution: Homeoprophylaxis: The Vaccine Alternative by Kate Birch & Cilla Whatcott.

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28   Vaccine Free: Prevention and Treatment of Infectious Contagious Disease with Homeopathy by Kate Birch


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9    Long-term Homeoprophylaxis Study by Kate Birch, Su Sandon, Sarah Damlo, Kim Lane

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     Vaccination & Homoeoprophylaxis? A Review of Risks and Alternatives – 7th Edition by Isaac Golden
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                                                     Affidavit
1    The Complete Practitioner’s Manual of Homoeoprophylaxis: A Practical Handbook of Homeopathic Immunisation by
     Isaac Golden
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12   There Is A Choice: Homeoprophylaxis by Cilla Whatcott

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19   https://freeandhealthychildren.org/store/the-book-the-solution/

20
     Vaccination & Homoeoprophylaxis? : A Review of Risks and Alternatives - 7th Edition
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1                The Effectiveness of HP – Statistical Trials in Humans
2

3                                                 Length
                               Numbers of                    Effectiveness
     Year      Researcher*                          of
                               Participants                       %
4                                                 Survey

5

6    1907         Eaton            2,806          < 1 year       97.5
7

8
                              82 (12 definitely
9    1950      Taylor-Smith                       < 1 year      100.0
                                  exposed)

10

11
     1963        Gutman             385           < 1 year       86.0
12

13
                 Castro         HP 18,000
14   1974                                         3 months       86.1
                &Nogeira       Not HP 6,340
15

16
     1987        English            694           2 years     87.0 – 91.5
17

18

19   1987          Fox               61           5 years     82.0 – 95.0

20

21
                                                  6 months
               Mroninski et    HP 65,826
     1998                                            12       95.0 – 91.0
22                 al         Not HP 23,539
                                                   months
23

24
                                    593
25   1997        Golden        children1,305      10 years       88.8
                               questionnaires
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1
                                     1,159 children
2    2004         Golden                 2,342              15 years                  90.4
                                     questionnaires
3

4
     * References for these studies may be found in Vaccination and Homeoprophylaxis – A Review of Risks and Alternatives,
5
                                                           6th edition
6
                      Questions: With methods like Homeoprophylaxis available, why would the government encourage
7                     rolling out inadequately tested vaccines, which have side effects including death? Why are children in
                      California being forced to receive 34 doses of vaccines between birth and age 18, when there are much
8                     safer and more effective methods of immunizing? HP offers long lasting immunity, why are we
                      exposing our children to the dangerous adjuvants in vaccines for temporary, waning immunity?
9
                 b.   Vitamins & Minerals
10                          i. B-complex
                                    1. B1 or Thiamin: https://lpi.oregonstate.edu/mic/vitamins/thiamin
11
                                    2. B2 or Riboflavin: https://lpi.oregonstate.edu/mic/vitamins/riboflavin
12                                  3. B3 or Niacin: https://lpi.oregonstate.edu/mic/vitamins/niacin
                                    4. B5 or Pantothenic Acid: https://lpi.oregonstate.edu/mic/vitamins/pantothenic-acid
13                                  5. B6 or Pyridoxal 5’ Phosphate: https://lpi.oregonstate.edu/mic/vitamins/vitamin-B6
                                    6. B7 or Biotin: https://lpi.oregonstate.edu/mic/vitamins/biotin
14                                  7. B9 or Folate: https://lpi.oregonstate.edu/mic/vitamins/folate
                                    8. B12 or Methylcobalamin: https://lpi.oregonstate.edu/mic/vitamins/vitamin-B12
15                         ii. Vitamin C: https://lpi.oregonstate.edu/mic/vitamins/vitamin-C
                               https://www.covid19treatmentguidelines.nih.gov/therapies/supplements/vitamin-c/
16                        iii. Vitamin D: https://lpi.oregonstate.edu/mic/vitamins/vitamin-D
                               https://www.covid19treatmentguidelines.nih.gov/therapies/supplements/vitamin-d/
17                        iv. Zinc: https://lpi.oregonstate.edu/mic/minerals/zinc
                               https://www.covid19treatmentguidelines.nih.gov/therapies/supplements/zinc/
18
                 c.   Anti-viral herbs- Astragalus, Thuja, Echinacea, Garlic, Hyssop, Lemon Balm, Licorice, Lomatium,
                      Osha, Paracress https://youarethehealer.org/wp-content/uploads/2019/12/2020-HMHE-sample-pages-
19
                      for-YATH.pdf
20                          i. 14 articles on PubMed regarding the successful use of antiviral herbs in treatment and
                               prevention of COVID:
21                             https://pubmed.ncbi.nlm.nih.gov/?linkname=pubmed_pubmed&from_uid=33749558
                           ii. Anti-viral and immune boosting mushrooms:
22                             https://jamanetwork.com/journals/jama/fullarticle/2786023
                          iii. Various anti-viral herbal medicine can interfere with COVID-19 pathogenesis by inhibiting
23                             SARS-CoV-2 replication and entry to its host cells.
                               https://www.sciencedirect.com/science/article/pii/S2589936821000657
24               d.   Blood Thinners/Anti-inflammatories https://thehealthsessions.com/10-natural-blood-thinners/
                            i. Clinic trials of natural anti-inflammatories and blood thinners find that medical herbs inhibit
25                             the inflammation expression, reduce the chance of cytokine-storm, prevent deterioration, and
                               reduce the mortality rate. In addition, the T cells can perform their job when the inflammation
26
                               is under control. The virus and cancer cells belong to antigens that should be killed by natural
27                             killer (NK) cells and T cells. https://clinicaltrials.gov/ct2/show/NCT04790240
                 e.   Natural Treatment protocols for COVID:
28


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                                                Affidavit
1                      i. This study finds that combining the above mentioned natural treatments has very successful
                          outcomes for treatment of COVID, preventing complications and death.
2                         https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7575721/

3                 Questions: Use of these natural treatments dramatically reduces complications and death from COVID,
                  why wouldn’t the government encourage this? These vitamins and minerals are very easy to access,
4                 they’re inexpensive and they have a multitude of other health benefits, in addition to preventing and
                  treating COVID, why didn’t public health officials recommend these life-essential vitamins and
5                 minerals? I, Dr. Mazi, have treated hundreds of COVID patients successfully using natural treatments
                  and I have not had a single patient that required hospitalization, nor has anyone died, why would these
6
                  treatments be suppressed? These treatments also help with patients who experience long-haul
                  symptoms, most of my patients who were long-haulers had been vaccinated and then caught COVID, so
7
                  they were exposed to excess spike proteins, why wouldn’t the government campaign for use of these
8                 treatments, which are so safe and effective?

9    II. Problems with rolling out vaccines without unbiased, double-blind, placebo safety testing.
            a. No testing like this has ever been done to date for any vaccine in history, and this type of testing is
10              the gold standard in medicine: https://www.verywellhealth.com/double-blind-placebo-controlled-
                clinical-trial-715861
11                    i. Testing is often biased, as it is often only performed by the vaccine manufacturers. Biased
                          testing is a real problem regarding maintaining the integrity of the safety data because the
12                        pharmaceutical industry does its own safety testing. This is obviously a massive conflict of
                          interest as we know self policing especially when huge profits are at stake is practically
13                        impossible. The FDA does not do independent safety testing of vaccines, but rather relies on
                          the pharmaceutical manufacturers to present their own safety data for FDA approval.
14
                          Obviously, it would benefit the pharmaceutical industry’s own self interest to present favorable
15                        and potentially biased data to the regulatory agencies.
                     ii. Placebo safety testing is a way of testing a medical therapy in which one group of subjects is
16                        given the treatment to be evaluated, and a separate “control” group is given a “placebo” which
                          is essentially an inert substance that has no significant effect. Water is often the most common
17                        placebo given. When the experiment is “double blinded” both the subjects and the scientists
                          participating and evaluating the trial do not know which group received the placebo and which
18                        group received the actual medical therapy. This is considered the most effective way to protect
                          against unintended bias from both the subjects and the scientists. However, unfortunately when
19                        it comes to vaccine safety research none of these standards are used—thus deeply
                          compromising the integrity of the scientific process, deeply compromising the objectivity of
20                        vaccine science, and deeply compromising the safety of vaccines.
            b. Unbiased, double-blind, randomized, placebo safety studies are NOT the standard in vaccine studies.
21
                Here are some examples:
                      i. In 2012, in response to persistent interrogation before a Congressional Committee, Dr. Colleen
22
                          Boyle, a senior CDC official, reluctantly admitted under oath that the CDC, the FDA, the NIH,
23                        and the manufactures themselves routinely avoid using unvaccinated controls as a matter of
                          policy, a radical departure from the widely accepted “gold standard” of biomedical research.
24                        Dr. Colleen Boyle, in replying to questioning by Rep. Bill Posey (R-FL), House Oversight and
                          Government Reform Committee, November 29, 2012.
25
                       ii. Clinical studies on vaccine safety often administer aluminum containing adjuvants to the
26                         “control” group as a supposedly harmless “placebo” despite mounting evidence that aluminum
                           at any level is toxic to humans and animals. In a recent study entitled, “Aluminum vaccine
27                         adjuvants: are they safe?”—researchers Tomljenovic and Shaw state, ”The continued use of
                           aluminum adjuvants in various vaccines for children as well as the general public may be of
28                         significant concern. In particular, aluminum presented in this form carries a risk for

                                                            17
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                                           Affidavit
1                     autoimmunity, long-term brain inflammation and associated neurological complications and
                      may thus have profound and widespread adverse health consequences.” Tomljenovic L, Shaw
2                     CA. Aluminum vaccine adjuvants: are they safe? Curr Med Chem 2011; 18(17)” 2630-37.
               iii. The lack of true placebo safety testing can be found in the majority of vaccine research trials.
3                     A few examples of this fraudulent scientific practice includes studies involving the HPV,
                      DTap, Hib, PedvaxHIB, and Prevnar vaccines. For example, of the 16 HPV vaccine
4                     randomized trials, only two used inert saline placebo. Ten of the sixteen compared the HPV
                      vaccine against a neurotoxic aluminum adjuvant, and four trials used an already approved
5                     aluminum-containing vaccine as comparison. Tomljenovic L, Shaw CA. Aluminum vaccine
                      adjuvants: are they safe? Curr Med Chem 2011; 18(17)” 2630-37.
6
                iv. With ActHIB, Sandofi-Pasteur’s Hib vaccine, the subjects both received the DTP and either
                      the oral polio or the hepatitis B for comparison. Vaccine manufacturer Sanofi-Pasteur used the
7
                      DTP as a “control” group to evaluate the safety of the DTap vaccine that they developed to
8                     replace the DTP. The DTP vaccine was taken off the market decades prior because of the large
                      number of court settlements for brain damage that had resulted from mandated use in the
9                     1980’s and 1990’s. The Dtap vaccine featured the presumably safer acellular pertussis
                      component. “ ActHiB”, Package Insert, Sanofi-Pasteur, 2009, p.6 and “Tripedia,” Package
10                    Insert, Sanofi-Pasteur, 2005, p.6.
                 v. In Lyophilized PedvaxHIB’s pre-licensure trials, the test group received Lyphilized
11                    PedvaxHIB, OPV and DTP, and the control group received a placebo, OPV and DTP.
                      Concomitantly injecting OPV and DTP negate the benefit of having a placebo as it prevents
12                    assessing the actual safety profile between Lyophilized PedvaxHIB and a placebo.
                      https://www.fda.gov/downloads/BiologicsBloodVaccines/Vaccines/ApprovedProducts/UCM2
13                    53652.pdf
                vi. Prevnar was also licensed without a placebo-control trial. 1,662 infants were equally
14
                      randomized to receive either Prevnar or a control vaccine Hepatitis B.
15                    https://labeling.pfizer.com/showlabeling.aspx?id=134
               vii. There is also no requirement that the authors of prominent highly-cited randomized, placebo-
16                    controlled studies disclose composition of the placebo. In a recent study entitled, “What’s in
                      placebos: who knows? Analysis of randomized, controlled trials,” authors Golomb and
17                    Erickson state, “Failure to report placebo composition compromises the foundation on which
                      medical decisions are based, and on which the fate of lives may rest.” Golomb BA, Erikson
18                    LC, et al. Whats in placebos: who knows? Analysis of randomized, controlled trials. Ann
                      Intern Med 2010; 153(8):532-35.
19            viii. Although placebos can influence study results, there are no regulations guiding placebo
                      composition. Placebos that are not neutral can influence study results. Also, studies that do not
20                    provide details about placebo ingredients make it impossible to replicate the studies which
                      further compromises the scientific process.
21
                ix. To continue to use adjuvants that are known to be neurotoxic as a placebo violates the very
                      core of scientific integrity, scientific standards, and medical ethics. To continue to use vaccines
22
                      that are not an inert substance and have previously injured or killed vaccine recipients as a
23                    placebo also violates the very core of scientific integrity, scientific standards, and medical
                      ethics. To continue to not identify placebo ingredients also violates the very core of scientific
24                    integrity, scientific standards, and medical ethics.
                 x. Of the 16 HPV vaccine randomized trials, only two used inert saline placebo. Ten of the
25                    sixteen compared the HPV vaccine against a neurotoxic aluminum adjuvant, and four trials
                      used an already approved aluminum-containing vaccine as comparison. Tomljenovic et al.
26                    Infectious Agents and Cancer 2013, 8:6
                xi. There have been zero vaccine synergistic studies ever performed. For example, there are no
27                    studies about giving a patient several vaccines at one time.
                      https://learntherisk.org/vaccines/ingredients/
28
                   III.       Questions: Are true inert placebos not used in vaccine research to intentionally hide the

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1                              real damage, death, injury, and harm correlated or caused by vaccines? Given this
                               evidence, is it possible that vaccine science may not be the unbiased truth we once
2                              thought it was? Is it not true that if we blindly accept the term “vaccine science” as
                               being undeniable truth that can no longer be questioned—then “vaccine science” ceases
3                              to be science at all and rather becomes a faith based religion? Is it possible that the
                               practice of vaccination is more of a faith based and cultural practice passed down to us
4
                               from previous generations? Is it possible that the term “vaccine science” is actually an
5                              oxymoron as it does not represent unbiased science free from commercial interests,
                               industry corruption, medical malfeasance, and political agendas?
6
         a.   Hx of previous vaccines and unforeseen issues
7
                   i. Statement(Vaccines crate susceptibility to other diseases)
8                 ii. DTaP Vaccine. The FDA and university scientists have discovered that those vaccinated with
                      DTaP remain susceptible to become infected with pertussis, potentially every month, but will
9                     not display symptoms and hence can silently transmit pertussis to others. In contrast, those
                      unvaccinated to pertussis may have pertussis once, have symptoms and hence know to stay
10                    home, and then cannot be infected again for many years. Source:
                       https://www.ncbi.nlm.nih.gov/pubmed/24277828 and
11                     https://www.ncbi.nlm.nih.gov/pubmed/30793754 (“neither DTP, nor DTaP or Tdap prevent
                      asymptomatic infection and silent transmission of the pathogen”)
12               iii. Chicken pox vaccines increase likelihood of Shingles: https://elifesciences.org/for-the-
                      press/1ccc3639/chickenpox-vaccination-does-increase-shingles-cases-but-mainly-in-young-
13                    adults#:~:text=Vaccinating%20one%2Dyear%2Dolds%20against,re%2Dexposed%20to%20th
                      e%20virus.
14               iv. The Cutter Incident: “In April 1955 more than 200 000 children in five Western and mid-
                      Western USA states received a polio vaccine in which the process of inactivating the live virus
15                    proved to be defective. Within days there were reports of paralysis and within a month the first
                      mass vaccination programme against polio had to be abandoned. Subsequent investigations
16                    revealed that the vaccine, manufactured by the California-based family firm of Cutter
                      Laboratories, had caused 40 000 cases of polio, leaving 200 children with varying degrees of
                      paralysis and killing 10.”
17
                      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1383764/#:~:text=In%20April%201955%20
                      more%20than,polio%20had%20to%20be%20abandoned.
18
                  v. Autoimmunity: In Thomas Cowan’s book, “Vaccine, Autoimmunity and the Changing Nature
                      of Childhood Illness,” he elaborates on the topic of vaccine induced autoimmunity, and how
19
                      we are seeing more and more children with autoimmunity, as the childhood vaccine schedule
                      continues to increase.
20
                          1.     Questions: Is it possible for vaccines to create susceptibility to other diseases?
21
                 vi. We have replaced acute inflammatory self-limiting diseases that create life long immunity and
22
                     protection from chronic illness as we age with chronic life long inflammatory disease states
                     that often leave a person disabled for life due to this vaccination schedule.
23
         b. No COVID-19 testing has been done for:
24
                  i. long term effects
25               ii. induction of autoimmunity or cancer
                iii. safety during any stage or pregnancy
26              iv. safety in babies and children
                 v. https://childrenshealthdefense.org/defender/covid-pandemic-manipulated-disease-history/
27       c. 4 times FDA has approved dangerous drugs in the past: https://childrenshealthdefense.org/defender/fda-
            cdc-approved-prescription-drugs/
28


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1        d.   FDA Advisors fast track unanimous approval for COVID-19 vaccines for infants & young children,
              despite the reports of adverse injuries and death in adults:
2             https://childrenshealthdefense.org/defender/fda-eua-covid-shots-infants-young-kids/
         e.   FDA uses unreliable data to endorse COVID shots for toddlers and infants:
3             https://childrenshealthdefense.org/defender/fda-report-covid-shots-infants-toddlers/
         f.   Poor clinical trials prior to roll out of COVID vaccines:
4                   i. More COVID cases in kids who got 2 shots, versus those who got none:
                        https://childrenshealthdefense.org/defender/covid-cases-kids-2-shots-cdc-reports/
5                  ii. Viral shedding after COVID vaccines- this means that vaccinated individuals become
                        contagious for COVID for a period of time after the vaccine. Traditional vaccines with live
6
                        viruses such as measles, mumps, and rubella (MMR) and Chickenpox have long been known
                        to shed—thereby potentially infecting other people. Even though the biased narrative that
7
                        healthy unvaccinated people threaten the public, growing evidence actually suggests that the
8                       vaccinated can harm the unvaccinated by synthetic viral shedding of the COVID-19 vaccine
                        through a process known as microvessicle shedding. Even the Pfizer mRNA vaccine trail study
9                       design warns against shared air and skin contact between the vaccinated and unvaccinated as
                        potential vectors of harm. This article by GreenMedinfo describes these concerns in greater
10                      detail: https://greenmedinfo.com/blog/miami-school-asks-staff-not-take-covid-jab-global-
                        media-assault-follows-pfizer-tra1
11                iii. Moderna allowed only exceptionally healthy volunteers to participate in their study, yet still
                        had a very high injury rate. A vaccine with those reaction rates could cause grave injuries
12                      in 1.5 billion humans if administered to “every person on earth”.
                        https://childrenshealthdefense.org/news/vaccine-trial-catastrophe-moderna-vaccine-has-20-
13                      serious-injury-rate-in-high-dose-group/
14                iv. Immunization with SARS Coronavirus Vaccines Leads to Pulmonary Immunopathology on
                      Challenge with the SARS Virus. The spike proteins in the vaccines are almost twice as high as
15                    those of the natural infection, meaning they cause twice as much harm.
                      https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3335060/ These SARS-CoV vaccines all
16                    induced antibody and protection against infection with SARS-CoV. However, challenge of
                      mice given any of the vaccines led to occurrence of Th2-type immunopathology suggesting
17                    hypersensitivity to SARS-CoV components was induced. In other words, autoimmunity was
                      found in a multitude of mice post-COVID vaccine. Caution in proceeding to application of a
18                    SARS-CoV vaccine in humans is indicated.
                   v. Blood clots, reproductive harm and viral shedding from vaccinated individuals:
19                    https://childrenshealthdefense.org/defender/dr-ryan-cole-shots-hooker/
                  vi. There have been numerous problems and flaws in the safety design, development, and
20                    administration of the Pfizer COVID injection. This scientific article highlights some of these
                      concerns such as lack of statistical power, confirmation bias, short trial length, and an inability
21
                      to prove the injection can prevent death, hospitalizations, and/or person-to-person
                      transmission. https://www.bmj.com/content/371/bmj.m4037.
22
                 vii. When the FDA authorized Emergency Use Authorization for children 5-11, Toby Rogers
23                    Ph.D., a pharmaceutical risk-benefit analysis expert, wrote a scathing rebuke of Pfizer’s risk-
                      benefit analysis and said it was “one of the shoddiest documents I’ve ever seen.” Some of his
24                    critiques include, 1.) COVID-19 rates in children ages 5 to 11 are so low that there were ZERO
                      cases of severe COVID-19 and ZERO cases of death from COVID in either the treatment (n=
25                    1,518) or control group (n= 750), 2.) Pfizer’s clinical trial in kids was intentionally undersized
                      to hide harm, 3.) Pfizer only enrolled participants 5-11 years of age without evidence of prior
26                    SARS-CoV-2 infection. This study design was especially problematic given recent data from
                      the British government found that the Pfizer mRNA injection wiped out natural immunity from
27                    people who had previously been infected and recovered, and finally 4.) The follow-up period
                      was intentionally too short. This is a well known trick in the pharmaceutical industry to again
28


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1                         hide potential harm. To read his full critiques please click the following link below:
                          https://principia-scientific.com/10-redflags-in-fdas-approval-of-pfizers-plan-to-jab-young-kids/
2                   viii. Pfizer’s clinical trial left out a serious injury sustained by Maddie De Garay in order to falsely
                          state safety claims. Maddie was a previously energetic and healthy 12 year-old who
3                         participated in Pfizer’s clinical trail and sustained severe and life-altering injuries after her
                          second COVID-19 injection—she is now permanently wheelchair bound and has a permanent
4                         feeding tube. https://aaronsiri.substack.com/p/fda-buries-data-on-seriously-injured

5                                   Questions: Why did Pfizer and the FDA bury her injury in the clinical trail? Pfizer’s
                                    clinical trial for children aged 12-15 included only 1,131 children (which is
6
                                    statistically insignificant). If at least one child experienced devastating injuries in the
                                    clinical trail the ramifications of ignoring that injury and continuing full steam ahead
7
                                    to inject millions of children can have calamitous consequences. It would then stand
8                                   to reason that we ask ourselves, what other adverse events are possibly being ignored
                                    by our regulatory agencies?
9                     ix. Against their stated commitment to transparency, the U.S. Food and Drug Administration
                          (FDA) attempted to conceal Pfizer’s clinical trial documents for 75 years. On Feb. 2, 2022,
10                        federal judge Mark Pittman issued an order requiring the FDA to release redacted versions of
                          the documents in question according to the following disclosure schedule:
11                             1. 10,000 pages apiece, due on or before March 1 and April 1, 2022.
                               2. 80,000 pages apiece, to be produced on or before May 2, June 1 and July 1, 2022.
12                             3. 70,000 pages to be produced on or before Aug. 1, 2022.
                               4. 55,000 pages per month, on or before the first business day of each month thereafter,
13                                  until the release of the documents has been completed.
                       x. Mainstream media has been focused on the other news stories (Russia/Ukraine & Supreme
14
                          Court leak) and so far has not covered the startling findings, which include massive (and
15                        illegal) cover-up of vaccine injuries and deaths. The Defender has written articles to help make
                          sure the public has access to the documents where the government gave billions to Pfizer,
16                        mandated Americans to take the product, prohibited Americans for suing, and attempted to
                          deny Americans access to the data underlying licensure.
17                             1. Pfizer Document Dump Shows Doctor With Ties to Gates Foundation Deleted Trial
                                    Participant’s Vaccine Injury: https://childrenshealthdefense.org/defender/pfizer-
18                                  document-doctor-gatesfoundation-deleted-trial-vaccine-injury/
                               2. FDA Dumps More Pfizer Documents: Why Were So Many Adverse Events Reported
19                                  as ‘Unrelated’ to Vaccine? https://childrenshealthdefense.org/defender/fda-pfizer-
                                    documents-vaccine-adverseevents/
20                             3. Pfizer Knew Vaccine Injuries Were More Severe in People Under 55, Documents
                                    Reveal https://childrenshealthdefense.org/defender/pfizer-vaccine-injuries-more-
21
                                    severe-people-under-55/
                               4. ‘Natural Immunity Works and Pfizer Knows It,’ FDA Document Dump Reveals
22
                                    https://childrenshealthdefense.org/defender/natural-immunity-pfizer-fda-document-
23                                  dump/

24   IV. Lack of Efficacy & Safety with vaccines. Risk vs. benefit
            a. It is also important to remember that Pfizer and Moderna used experimental mRNA technology that has
25               never been approved for pubic use in humans until now. Not only are there an extreme lack of robust
                 scientific safety studies, but there are also many concerns voiced by doctors, scientists, and medical
26               researchers relating to many aspects of our innate biology including adverse autoimmune reactions to
                 the new mRNA technology. This pre-print study provides evidence to support what many prominent
27               immunologists and vaccinologists have been saying for a long time — mRNA COVID vaccines are
                 causing immune system dysregulation. https://
28               www.medrxiv.org/content/10.1101/2021.05.03.21256520v1

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1        b.   Comprehensive Risk Vs. Benefit analysis of COVID mRNA vaccines in kids and teens:
              https://childrenshealthdefense.org/defender/kids-teens-covid-mrna-vaccines-analysis/
2        c.   Statement (Safety Studies)
              HHS Fails to Perform Basic Vaccine Safety Requirements.
3             After eliminating the market forces that assured vaccine safety, Congress made HHS directly
              responsible for vaccine safety pursuant to a section of the 1986 Act entitled the “Mandate for safer
4             childhood vaccines.”35 As seen above and as HHS recently conceded in federal court, it has not
              performed even the basic requirements of this section, such as submitting reports to Congress on how
5             HHS has improved vaccine safety. Source: http://icandecide.org/government/ICAN-HHS-Stipulated-
              Order-July-2018.pdf
6
              Questions:
7
              How do we know that the current scheduled is safe when HHS has failed to perform basic vaccine
8             safety requirements? Without synergistic vaccine testing (multiple vaccines at once), how do we know
              that is safe?
9        d.   According to the New England Journal of Medicine a mumps outbreak during 2009 and 2010 occurred
              primarily among fully vaccinated children. 6 https://www.organiclifestylemagazine.com/all-natural-
10            homeopathic-immunizations-homeoprophylaxis-is-a-proven-alternative-to-vaccines
         e.   Our own immune system must not be forgotten as a form of defense. Over 100 years of research proves
11            that natural immunity is far superior to artificial immunity. The Children’s Health Defense complied a
              list of 81 studies that confirm natural immunity to COVID-19 is equal or superior to vaccine immunity.
12            They write, “This follow-up chart is the most updated and comprehensive library list of 81 of the
              highest-quality, complete, most robust scientific studies and evidence reports/position statements on
13            natural immunity as compared to the COVID-19 vaccine-induced immunity and allows you to draw
              your own conclusion.” https://childrenshealthdefense.org/defender/research-natural-immunity-covid-
14
              brownstone-institute/
15       f.    In this opinion piece, Paul Elias Alexander, PhD references 6 studies that suggest children should be
              considered ‘already vaccinated’ and immune because their natural immune system is designed so well
16            to handle COVID. https://americasfrontlinedoctors.org/2/frontlinenews/hands-off-cdc-andpfizer-
              children-are-to-be-considered-already-covid-vaccinated-opinion/
17       g.   The CDC estimates that 44% of Americans have recovered from COVID and have natural immunity.
              Children are not required to get the chickenpox vaccine if they have acquired natural immunity by
18            actually contracting chickenpox. Questions: Why do people need to get the injection when they’ve
              acquired superior, natural immunity? What forces are driving the pressure to inject everyone?
19       h.   Vaccine Adjuvants- according to the CDC, “An adjuvant is an ingredient used in some vaccines that
              helps create a stronger immune response in people receiving the vaccine.” The CDC goes on to say that
20            adjuvants have been used safely in vaccines for decades.
              https://www.cdc.gov/vaccinesafety/concerns/adjuvants.html
21
                     i. A short list of some of the ingredients and their potential biological impact include:
                             1. Aluminum known to cause brain damage at all doses
22
                             2. Formaldehyde known to cause cancer in humans
23                           3. Mercury (thimerosal) one of the most toxic substances known
                             4. Beta-Propiolactone known to cause cancer
24                           5. Monosodium Gluamate (MSG) A toxic chemical that is linked to birth defects,
                                  developmental delays and infertility and is banned in Europe
25                           6. Genetically Modified Yeast, Bacterial and Viral DNA & Dairy/Egg Components can
                                  be incorporated into the recipient’s DNA and can cause unknown genetic mutations
26                                that can lead to allergies
                             7. Phenol/Phenoxyethanol [2-PE] used as anti-freeze and toxic to all cells and capable of
27                                destroying the immune system
                             8. Neomycin Sulphate [antibiotic]interferes with vitamin B6 absorption which can lead
28                                to epilepsy and brain damage

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1                                  9.  Gentamicin Sulphate & Polymyxin B [antibiotics] allergic reactions can range from
                                       mild to life-threatening
2                                  10. Polysorbate 80 & 20 known to cause cancer in animals and linked to numerous
                                       autoimmune issues and infertility. https://learntherisk.org/vaccines/ingredients/
3
                                                      Vaccine Adjuvants
4                                                         Aluminum
     Known to cause brain damage at all doses, linked to ALZHEIMER’S DISEASE, dementia, seizures, autoimmune issues,
5               SIDs and cancer. This toxin accumulates in the brain and causes more damage with each dose.

6                                           Formaldehyde [formalin]
       Known to cause CANCER in humans. Probable gastrointestinal, liver, respiratory, immune, nerve and reproductive
7                        system POISON. Banned from injectables in most European countries.
8
                                                 Beta-Propiolactone
9      Known to cause CANCER. Suspected gastroin- testinal, liver, nerve and respiratory, skin and sense organ POISON.

10                                  Gentamicin Sulphate & Polymyxin B [antibiotics]
                                 ALLERGIC reactions can range from mild to life-threatening.
11

12                   Genetically Modified Yeast, Bacterial and Viral DNA & Dairy/Egg Components
      Can be incorporated into the recipient’s DNA and cause unknown GENETIC MUTATIONS. This also includes: eggs,
13                                                dairy, this leads to allergies.

14                                                      Glutaraldehyde
                                  Poisonous if ingested. Causes BIRTH DEFECTS in animals.
15
                                                         Latex Rubber
16                                         Can cause life-threatening allergic reactions
17
                                                    Peanut & Soy Bean Oil
18                                              Linked to peanut and soy allergies
                                               Human and Animal Cells
19    Human DNA from aborted BABIES. Pig blood, horse blood, rabbit brains, dog kidneys, cow hearts, monkey kidneys,
               chick embryos, calf serum, sheep blood & more. Linked to childhood leukemia and diabetes.
20

21                                                   Mercury [thimerosal]
     One of the most toxic substances known. Even if a thermometer breaks, the building is cleared and HAZMAT is called.
22   Tiny doses cause damage to the brain, gut, liver, bone marrow, nervous system and/or kidneys. Linked to autoimmune
                                      disorders, and neurological disorders like AUTISM.
23
                                                 Monosodium Glutamate [MSG]
24           A toxic chemical that is linked to birth defects, developmental delays and infertility. Banned in Europe.

25
                                               Neomycin Sulphate [antibiotic]
      Interferes with vitamin B6 absorption which can lead to epilepsy and brain damage. Allergic reactions can range from
26
                                                    mild to life -threatening.
27
                                              Phenol/Phenoxyethanol [2-PE]
28                   Used as anti-freeze. TOXIC to all cells and capable of destroying the immune system.


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1
                                                  Polysorbate 80 & 20
2                 Known to cause CANCER in animals and linked to numerous autoimmune issues and infertility.

3                                                      Tri(n) Butylphosphate
                                        Potentially toxic to the kidneys and nervous system.
4
     Please see Appendix B for list of vaccines and their adjuvant ingredients. https://learntherisk.org/vaccines/ingredients/
5    Adjuvants in COVID vaccines: https://www.pharmaexcipients.com/news/covid-19/ingredients-and-excipients-in-the-
     covid-19-vaccines/
6    A Note about Heavy Metals in vaccines:
7    -Vaccines can be labeled “without heavy metals” when they contain levels below a certain amount (this varies from one
     metal to the next). Regardless of the metal, any amount of exposure is toxic to the nervous system and can actually
8    change our DNA. https://www.sciencedirect.com/science/article/pii/S0753332218374407
     -We inherit heavy metal loads through the maternal line. For example, your grandmother inherited her load from her
9    mother, then she accumulated a load on top of that and passed it to your mother at birth. Your mother then accumulated
     her own heavy metal load through exposures and passed that to you. Now, you’re accumulating your load in addition to
10   that. https://bmcplantbiol.biomedcentral.com/articles/10.1186/s12870-019-1887-7

11   -Given the inheritance of heavy metals, we do not come into the world with a clean slate. We all have our own heavy
     metal burden, which continues to accumulate with each exposure, whether through Lead paint, amalgam dental fillings, or
12   vaccines. This is one of the reasons it’s so difficult to study vaccine adverse events. When each person has their own
     unique heavy metal load, they will not all react the same way to further exposure, and this does not fit well into the
13   scientific method.
     -Aluminum and Mercury are common in vaccines. These metals are neurotoxic, meaning they poison the nervous
14   system. This is highly linked to brain damage in children and all forms of dementia in the older population. These metals
     also alter DNA, which can cause autoimmunity and cancer.
15   https://www.researchgate.net/publication/324488689_Synergism_in_aluminum_and_mercury_neurotoxicity
     https://pubmed.ncbi.nlm.nih.gov/26734585/
16   https://pubmed.ncbi.nlm.nih.gov/25509564/#:~:text=Heavy%20metals%20are%20capable%20of,role%20in%20metal%2
     Dinduced%20autoimmunity.
17
     -High heavy metal loads are often found in children with spectrum disorders, including Autism:
     https://www.medicalnewstoday.com/articles/317754#Heavy-metals,-or-bodys-ability-to-process-them,-may-affect-ASD-
18   risk
19   Questions: Part of the mechanism of action for vaccines requires heavy metals, which present the antigen to the immune
     system and cross the blood brain barrier, so all vaccines contain heavy metals, with what we know about their toxicity,
20   why would we continue to use vaccines to induce short-term immunity? Why would we ever give vaccines to babies or
     to pregnant women, knowing the toxicity of these metals? Why has the number of children with Autism and other
21   spectral disorders skyrocketed in exact alignment with the childhood vaccine schedule increase?
                  i.   Doctors who explain why vaccines are NOT safe or effective (to name a few)
22                           i. Dr. Nancy Banks - http://bit.ly/1Ip0aIm
                            ii. Dr Chris Shaw - http://bit.ly/1IlGiBp
23
                          iii. Dr. Shiv Chopra - http://bit.ly/1gdgh1s
                           iv. Dr. Sherri Tenpenny - http://bit.ly/1MPVbjx
24
                            v. Dr. Suzanne Humphries - http://bit.ly/17sKDbf
25                         vi. Dr. Larry Palevsky - http://bit.ly/1LLEjf6
                          vii. Dr. Toni Bark - http://bit.ly/1CYM9RB
26                       viii. Dr. Andrew Wakefield - http://bit.ly/1MuyNzo
                           ix. Dr. Meryl Nass - http://bit.ly/1DGzJsc
27                          x. Dr. Raymond Obomsawin - http://bit.ly/1G9ZXYl
                           xi. Dr. Ghislaine Lanctot - http://bit.ly/1MrVeUL
28                        xii. Dr. Robert Rowen - http://bit.ly/1SIELeF


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                                          Affidavit
1                xiii. Dr. David Ayoub - http://bit.ly/1SIELve
                 xiv. Dr. Boyd Haley PhD - http://bit.ly/1KsdVby
2                 xv. Dr. Rashid Buttar - http://bit.ly/1gWOkL6
                 xvi. Dr. Roby Mitchell - http://bit.ly/1gdgEZU
3               xvii. Dr. Ken Stoller - http://bit.ly/1MPVqLI
               xviii. Dr. Mayer Eisenstein - http://bit.ly/1LLEqHH
4                xix. Dr. Frank Engley, PhD - http://bit.ly/1OHbLDI
                  xx. Dr. David Davis - http://bit.ly/1gdgJwo
5                xxi. Dr Tetyana Obukhanych - http://bit.ly/16Z7k6J
                xxii. Dr. Harold E Buttram - http://bit.ly/1Kru6Df
6
               xxiii. Dr. Kelly Brogan - http://bit.ly/1D31pfQ
               xxiv. Dr. RC Tent - http://bit.ly/1MPVwmu
7
                xxv. Dr. Rebecca Carley - http://bit.ly/K49F4d
8              xxvi. Dr. Andrew Moulden - http://bit.ly/1fwzKJu
              xxvii. Dr. Jack Wolfson - http://bit.ly/1wtPHRA
9            xxviii. Dr. Michael Elice - http://bit.ly/1KsdpKA
               xxix. Dr. Terry Wahls - http://bit.ly/1gWOBhd
10              xxx. Dr. Stephanie Seneff - http://bit.ly/1OtWxAY
               xxxi. Dr. Paul Thomas - http://bit.ly/1DpeXPf
11            xxxii. Many doctors talking at once - http://bit.ly/1MPVHOv
             xxxiii. Dr. Richard Moskowitz - censored
12            xxxiv. Dr. Jane Orient - http://bit.ly/1MXX7pb
               xxxv. Dr. Richard Deth - http://bit.ly/1GQDL10
13            xxxvi. Dr. Lucija Tomljenovic - http://bit.ly/1eqiPr5
             xxxvii. Dr. Susan McCreadie - http://bit.ly/1CqqN83
14
            xxxviii. Dr. Mary Ann Block - http://bit.ly/1OHcyUX
15            xxxix. Dr. David Brownstein - http://bit.ly/1EaHl9A
                   xl. Dr. Jayne Donegan - http://bit.ly/1wOk4Zz
16                xli. Dr. Troy Ross - censored
                 xlii. Dr. Philip Incao - http://bit.ly/1ghE7sS
17              xliii. Dr. Joseph Mercola - http://bit.ly/18dE38I (also censored)
                xliv. Dr. Jeff Bradstreet - http://bit.ly/1MaX0cC
18               xlv. Dr. Robert Mendelson - http://bit.ly/1JpAEQr
                xlvi. Dr. Russell Blaylock - http://bit.ly/1BXxQZL
19             xlvii. Dr Theresa Deisher https://m.youtube.com/watch? feature=youtu.be&v=6Bc6WX33SuE
              xlviii. Dr. Sam Eggertsen-https://m.youtube.com/watch?v=8LB-3xkeDAE
20       j. Hundreds more doctors testifying that vaccines aren't safe or effective, in these documentaries.
                     i. Vaccination - The Silent Epidemic - http://bit.ly/1vvQJ2W
21
                    ii. The Greater Good - http://bit.ly/1icxh8j
                  iii. Shots In The Dark - http://bit.ly/1ObtC8h
22
                   iv. Vaccination The Hidden Truth - http://bit.ly/KEYDUh
23                  v. Vaccine Nation - http://bit.ly/1iKNvpU
                   vi. The Truth About Vaccines (10 part series) - http://bit.ly/1vlpwvU
24                vii. Lethal Injection - http://bit.ly/1URN7BJ
                 viii. Bought - http://bit.ly/1M7YSlr
25                 ix. Deadly Immunity - http://bit.ly/1KUg64Z
                    x. Autism - Made in the USA - http://bit.ly/1J8WQN5
26                 xi. Beyond Treason - http://bit.ly/1B7kmvt
                  xii. Trace Amounts - http://bit.ly/1vAH3Hv
27               xiii. Why We Don't Vaccinate - http://bit.ly/1KbXhuf
                 xiv. 9 hour court case https://m.youtube.com/watch?v=DFTsd042M3o
28


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                                                 Affidavit
1    V. Vaccine Manufacturer’s lack of accountability
           a. In 1986, President Ronald Regan granted Vaccine Manufacturers “immunity” from liability, after
2               the vaccine industry demanded so because otherwise, they wouldn’t be able to stay in business because
                so many people were injured and dying after vaccination. https://www.congress.gov/bill/99th-
3               congress/house-bill/5546
                https://childrenshealthdefense.org/news/childhood-vaccine-injury-act-protect/
4                     i. Since the pharmaceutical industry became indemnified from vaccine liability in 1986 the
                          children’s schedule has tripled from 24 doses to 73 doses. This includes the recommended flu
5                         (1 antigen = one dose) & DTap (3 antigens = three doses) given to pregnant women, despite
                          the fact there have been zero studies proving vaccines while pregnant are safe for the baby.
6
                          Someone born before 1986 received 24 vaccine doses from birth to 18 years of age—now by
                          the time a developing baby is 6 months old, they will have received 24 vaccine doses! This
7
                          graph made by the group Immunity Education compares the two schedules side by side and
8                         allows you to more deeply comprehend this exponential increase in the children’s schedule
                          following indemnification from the pharmaceutical industry. The graph does not include the
9                         four doses of vaccines (flu, Dtap) given to pregnant women.
                          https://immunityeducationgroup.org/infographics/
10                             1. This dramatic increase is even more disconcerting given that the number of long term
                                    safety studies done on the current, cumulative CDC schedule, which is the most
11                                  aggressive schedule in the world, is zero. In the span of a mere generation we have
                                    gone from 24 vaccine doses with 7 injections to 73 vaccine doses with 52 injections.
12                                  During a baby wellness check up alone, despite the fact there are again zero placebo
                                    studies analyzing the safety of multiple vaccine doses given simultaneously, a baby
13                                  can receive up to 9 doses in one visit, especially when doctors play “catch up” on the
                                    vaccine schedule, since the patient happens to be there.
14
                                    https://www.cdc.gov/vaccines/parents/by-age/months-1-2.html
15                             2. It is also important to remember that the pharmaceutical industry is motivated by their
                                    profits and not by our safety. The pharmaceutical industry annual profits have grown
16                                  at extreme astronomical rates since becoming indemnified from vaccines in 1986. In
                                    1982 they reported 170 million dollars in annual revenue and by 2020 their annual
17                                  revenue had grown to over 60 billion
                                    https://www.npr.org/2021/11/24/1059041725/covid-vaccines-are-set-to-be-among-
18                                  the-most-lucrative-pharmaceutical-products-ev That is a lot of money to buy
                                    politicians, capture regulatory agencies, capture the editorial boards of medical
19                                  journals, purchase media advertisements, collude with Big Tech to censor critical
                                    vaccine information and dialogue, control and/or ignore scientific studies, produce
20                                  counterfeit scientific studies, convince the public of their deceptive narrative through
                                    vaccine confidence campaigns, and successfully suppress legitimate dissenting
21
                                    opinions- all tactics we have seen happen during the pandemic.
                               3. Are we honestly supposed to trust the pharmaceutical industry with liability-free
22
                                    products when the four leading vaccine manufactures—Merk, Pfizer,
23                                  GlaxoSmithKline, and Sanofir—have been fined over 35 billion dollars in a 10 year
                                    period for products they actually have liability for? They were found guilty of
24                                  medical malfeasance, scientific fraud, data manipulation, bribery, defrauding
                                    regulators, lying to the public, and misleading doctors. Attorney, Bobby Kennedy
25                                  reminds us that vaccine manufactures are after all, “convicted felons” who have no
                                    incentive to create safer vaccines when they are not liable for their harm.
26                             4. Questions: When the pharmaceutical industry became indemnified from liability for
                                    vaccine injury and death did this create an economic incentive to create more
27                                  vaccines for a profit driven industry? If vaccines are safe and effective as we are told
                                    over and over again by the pharmaceutical industry, why does this same industry
28                                  demand liability free protection from potential injury and death to these supposed safe

                                                             26
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                                          Affidavit
1                             and effective products? If the legal definition of a vaccine is “unavoidably unsafe” as
                              set forth by the Supreme Court of the United States, why can the pharmaceutical
2                             industry still market that vaccines which are known to cause injury and death are still
                              safe and effective?”
3               ii. National Vaccine Injury Compensation Program (NVICP) was created since the vaccine
                    Manufacturers could not be sued. CITATION NVICP – H.R. 5546 (99TH Congress) Provides
4                   that no vaccine manufacturer shall be liable in a civil action for damages arising from a
                    vaccine-related injury or death: (1) resulting from unavoidable side effects; or (2) solely due to
5                   the manufacturer's failure to provide direct warnings.
                         1. Vaccine Injury Table from NVICP, please see pages 5-13 for most common injuries
6
                              https://www.hrsa.gov/sites/default/files/hrsa/vaccine-compensation/vaccine-injury-
                              table-01-03-2022.pdf
7
                         2. NVICP Stats, please note how many vaccine injuries are dismissed or not
8                             compensated for (hint: it’s the vast majority of them)
                              https://www.hrsa.gov/sites/default/files/hrsa/vicp/vicp-stats-06-01-22.pdf
9                        3. Vaccine Injury Attorneys are still required to utilize the NVICP, please see this
                              attorney’s website description of how this works:
10                            https://vaccinelaw.com/lawyer/Vaccine-Injuries_cp20627.htm
               iii. VAERS- The Vaccine Adverse Events Reporting System. VAERS was put in place in 1990. It
11                  is a passive rather than a mandatory reporting system, and many people do not know it exists.
                    Doctors are not trained to recognize most vaccine injuries, especially injuries that occur a week
12                  or more after injection. Hence, most vaccine injuries are either denied, go unnoticed, and/or are
                    not reported.
13                       1. In fact, a 2010 study submitted to the Agency for Healthcare Research and Quality
                              (AHRQ) found that less than 1% of vaccine injury is reported to VAERS.
14
                              https://openvaers.com/images/r18hs017045-lazarus-final-report-20116.pdf
15                       2. This tragic standard practice to ignore vaccine injuries violates the principle of
                              informed consent. Informed Consent is consent by a person to undergo a medical
16                            procedure or participate in a clinical trial, after receiving all material information
                              regarding risks, benefits, and alternatives to the medical intervention. However, when
17                            vaccine injury is denied most people are not made aware of the true risks involved in
                              vaccination.
18                       3. The following is a link to OpenVAERS where you can read first hand some of the
                              reported COVID-19 vaccine injury and deaths. https://openvaers.com/ The Open
19                            VAERS project allows browsing and searching of the VAERS verified reports and
                              database without the need to compose an advanced search. More advanced searches
20                            can be done at https://vaers.hhs.gov/data.html The government’s database can be
                              tricky to search, but the Open VAERS Project helps to make verified public
21
                              information more public.
                         4. The weekly data coming into VAERS is also going in the wrong direction, especially
22
                              for 12-17 year olds. Reports as of May 21st, 2021 noted that in one week’s time
23                            VAERS data showed COVID-19 vaccine injury among 12-17 year-olds more than
                              tripled from 943 reports last week, to 3,449 reports the following week.
24             iv. The COIVD-19 vaccines are the most dangerous vaccines ever given to humanity. More
                    people have been injured and killed by the COVID-19 vaccines than all other vaccines
25                  combined over the past 30 plus years according to Vaccine Adverse Event Reporting System
                    (VAERS data). This government data base was established in 1986 after the pharmaceutical
26                  industry became indemnified from liability following vaccine injuries and deaths.
                    Unfortunately, vaccine injury deniers frequently negate the possibility of temporal association
27                  to vaccine injures following vaccine injections. This is an example of cognitive dissonance that
                    happens in an attempt to hold on to the false cultural belief that vaccines are safe and effective
28                  despite the overwhelming evidence to the contrary. Vaccines obviously cause injury and

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                                                     Affidavit
1                           death—that is why Big Pharma demands liability free protection from potential damages to
                            their vaccine products.
2                       v. Pharmaceutical Manufacturers, CDC, FDA, and NIH are Indemnified from Vaccine Injury
                            COVID-19 vaccine manufacturers are also indemnified from liability for potential injury or
3                           death. If you become injured or die from a COVID-19 injection—you have no financial or
                            legal recourse to address your damages. They receive the same blanket liability protection
4                           from vaccine injury and death that all other vaccine manufacturers receive. Curiously, if
                            vaccines are safe and effective why do pharmaceutical companies demand liability free
5                           protection? These disturbing facts have been largely ignored by our regulatory agencies and by
                            our mainstream media. The CDC owns 58 vaccine patents, which essentially makes them a
6
                            subsidiary business partner to the pharmaceutical industry. Furthermore, the FDA receives half
                            of its budget from the pharmaceutical industry. This would be equivalent to the Environmental
7
                            Protection Agency (EPA) receiving half of its budget from the oil industry. Without question,
8                           everyone would know that the EPA had been severely compromised by the agenda of big oil.
                            Lastly, our mainstream media gets 70% of its advertising dollars in non-election years from the
9                           pharmaceutical industry. Pharmaceutical manufacturers spend millions to control the constant
                            message we receive about their “safe and effective” products. The following link is to a debate
10                          between attorneys Robert F. Kennedy Jr. and Alan Dershowitz which exposes these facts and
                            so much more. These talented attorneys debate the complex issues of vaccine mandates. I
11                          encourage you to watch and decide for yourself who you think won.
                            https://childrenshealthdefense.org/news/vaccine-debate-is-on-robert-f-kennedy-jr-vs-
12                          alandershowitz/
               b. “Unavoidably Unsafe” classification of vaccines by Supreme Court (page 2)
13                 https://www.supremecourt.gov/opinions/10pdf/09-152.pdf
                         i. Sixteen year old Sarah Green’s neurological disorder started immediately after her second dose
14
                            of the Pfizer injection. Against her parent’s wishes, she was lured by a Krispy Kreme’s
15                          promotion of getting a dozen donuts in exchange for getting the injection. Her severe,
                            debilitating neurological symptoms have been dismissed as “psychosomatic” which is a
16                          common reason why adverse events go unreported.
                            https://childrenshealthdefense.org/defender/sarah-green-16-year-old-neurological-symptoms-
17                          pfizer-vaccine/
         VI. Regulatory Agency Capture by Big Pharma and conflicts of interest
18
     #1
19   Statement (Regulatory Capture)
     In August 1999, the Committee on Government Reform initiated an investigation into Federal vaccine policy. This
20   investigation has focused on possible conflicts of interest on the part of Federal policy-makers. Committee staff has
     conducted an extensive review of financial disclosure forms and related documents, and interviewed key officials from
21   the Department of Health and Human Services, including the Food and Drug Administration and the Centers for Disease
     Control and Prevention.
22
     This staff report focuses on two influential advisory committees utilized by Federal regulators to provide expert advice on
23   vaccine policy: 1. The FDA's Vaccines and Related Biological Products Advisory Committee (VRBPAC); and 2. The
     CDC's Advisory Committee on Immunizations Practices (ACIP).
24
     The VRBPAC advises the FDA on the licensing of new vaccines, while the ACIP advises the CDC on guidelines to be
25   issued to doctors and the states for the appropriate use of vaccines. Members of the advisory committees are required to
     disclose any financial conflicts of interest and recuse themselves from participating in decisions in which they have an
26   interest.

27   The Committee's investigation has determined that conflict of interest rules employed by the FDA and the CDC have
     been weak, enforcement has been lax, and committee members with substantial ties to pharmaceutical companies have
28   been given waivers to participate in committee proceedings. Among the specific problems identified in this staff report:


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                                                    Affidavit
1            The CDC routinely grants waivers from conflict of interest rules to every member of its advisory committee.

2            CDC Advisory Committee members who are not allowed to vote on certain recommendations due to financial
              conflicts of interest are allowed to participate in committee deliberations and advocate specific positions.
3
             The Chairman of the CDC's advisory committee until very recently owned 600 shares of stock in Merck, a
4             pharmaceutical company with an active vaccine division.
5
             Members of the CDC's advisory Committee often fill out incomplete financial disclosure statements, and are not
6             required to provide the missing information by CDC ethics officials.

7            Four out of eight CDC advisory committee members who voted to approve guidelines for the rotavirus vaccine
              in June 1998 had financial ties to pharmaceutical companies that were developing different versions of the
8             vaccine.

9            3 out of 5 FDA advisory committee members who voted to approve the rotavirus vaccine in December 1997 had
              financial ties to pharmaceutical companies that were developing different versions of the vaccine.
10            https://www.icandecide.org/wp-content/uploads/2022/03/2000-OGR-Majority-Report.pdf
11
     #2
12   Statement (Regulatory Capture)
     On June 14-15, 2022, the FDA’s Vaccines and Related Biological Products Advisory Committee (VRBPAC) convened
13   and voted to recommend an emergency use authorization for both Moderna’s COVID-19 vaccine for children ages 6
     months to 17 years and Pfizer’s COVID-19 vaccine for children 6 months to 4 years. Against their own Conflict of
14   Interest policy they allowed Dr. James Hildreth, who had financial ties to the outcome, to vote.
     https://www.icandecide.org/ican_press/fdas-advisory-committee-ignores-members-conflict-of-interest-and-allows-him-
15   to-attend-meetings-and-vote/

16   #3
     Statement (Regulatory Capture)
17   CDC’s Childhood Vaccine Schedule Was Created by Pharma Insiders. Congress has repeatedly found that the members
     of the FDA and CDC committees responsible for approving most of the currently licensed and recommended childhood
18   vaccines had serious conflicts of interests with pharmaceutical companies. https://www.icandecide.org/wp-
     content/uploads/2022/03/2000-OGR-Majority-Report.pdf
19

20   #4
     Statement (Regulatory Capture)
21   The FDA receives 65% of its funding for drug evaluation from industry user fees. In 1995, the European Medicines
     Agency (EMA) received just 20% of its funding from industry fees. Today, that figure is 89%. At the high end, 96% of
22   Australia’s regulatory budget comes from industry monies, while even the regulatory authority with the smallest
     percentage of the six — Canada (50.5%) — still receives the majority of its funding from pharmaceutical companies.
23   Australia’s regulatory authority, during the 2020-2021 time period, approved more than 90% of drug applications.
     https://childrenshealthdefense.org/defender/big-pharma-drug-
24   regulators/?utm_source=salsa&eType=EmailBlastContent&eId=07ea062a-85ab-42bd-bf24-9357236f220a

25   #54
     Statement (Regulatory Capture)
26   The CDC owns 58 vaccine patents; one could argue that makes them a subsidiary business partner to the pharmaceutical
     industry. Additionally, the FDA receives roughly half of its budget from the pharmaceutical industry. The following link
27   is to a debate between attorneys Robert F. Kennedy and Alan Dershowitz which exposes these facts (and so much more).
     https://childrenshealthdefense.org/news/vaccine-debate-is-on-robert-f-kennedy-jr-vs-alan-dershowitz/
28


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                                                       Affidavit
1    #6
     Statement (Regulatory Capture)
2    Maddie de Garay, a previously energetic and healthy 12 year-old who participated in Pfizer’s clinical trail, sustained
     severe and life-altering injuries after her second COVID-19 vaccine dose. Pfizer and the FDA buried her injury in the
3    clinical trail. Pfizer’s clinical trial for children aged 12-15 included only 1,131 children. If at least one child experienced
     devastating injuries in the clinical trail, ignoring that injury and continuing with speed to inject millions of children can
4    have catastrophic consequences. How is it that the FDA, an agency designed to regulate the pharmaceutical industry and
     protect Americans, justified concealing the devastating injury sustained by Maddie De Garay?
5    https://aaronsiri.substack.com/p/fda-buries-data-on-seriously-injured

6
     #7
7    Statement (Regulatory Capture)
     There are over 12,000 published peer reviewed scientific articles that comprehensively and plainly demonstrate the
8    harmful effects of vaccines—and yet—this scientific evidence is being ignored by our regulatory health agencies.
     https://www.wellnessdoc.com/1200studies/
9

10   #8
     Statement (Regulatory Capture)
11   In this seven minute video Robert F Kennedy, Jr. says It’s Time to Follow The Science as he surfaces studies from John
     Hopkins, the CDC, Nature, The Office of National Statistics from England and Wales, the Lancet, Kaiser, as well as
12   countries—Israel, England, Australia—whose data collection is far superior to that of the United States. Particularly
     noteworthy is the claim that the COVID injections prevent hospitalizations and death. Data from Israel shows that 90% of
13   people who are hospitalized and dying from Covid are injected/vaccinated. Similarly, England shows that 90% of people
     who are hospitalized or dying from Covid are injected/vaccinated, with 4 out of 5 of being triple injected/vaccinated.
     Australia shows that 80% of people who are hospitalized or dying from Covid have been injected/vaccinated. The science
14
     shows that not only are the injections unnecessary and ineffective, but they are also dangerous.
     https://childrenshealthdefense.org/child-health-topics/health-freedom/its-time-to-follow-the-science/
15

16
     On April 3rd, 2022, Meryl Nass. M.D. analyzed large population data from the UK and the United States and writes an
     article with the following head line: It's Official! CDC and UK government data reveal the COVID vaccines do not
17
     prevent cases, transmission, severe illness or deaths https://merylnass.substack.com/p/its-official-cdc-and-uk-
     government?s=r
18

19
     If unbiased science has proven that the vaccines are neither safe or effective, and do not impact disease severity, why is it
     that, as reported by the National Geographic on July 8th, 2022, that the FDA continues to recommend boosters and lie
20
     about their safety, effectiveness, and impact on disease severity?
     https://www.nationalgeographic.com/science/article/should-you-get-a-second-covid-booster-now-or-wait-for-updated-
21
     shots
22   #9
     Statement (Media Capture)
23   Mainstream media gets 70% of its advertising dollars in non-election years from the pharmaceutical industry. Given the
     astronomical control Big Pharma has on mainstream media’s budget, they control the message that vaccines are “safe and
24   effective.” The following link is to a debate between attorneys Robert F. Kennedy and Alan Dershowitz which exposes
     these facts (and so much more). https://childrenshealthdefense.org/news/vaccine-debate-is-on-robert-f-kennedy-jr-vs-
25   alan-dershowitz/
26
     #10 FDA & Pfizer Cover-Up & Mainstream Media Complicity
27   Against their stated commitment to transparency, the U.S. Food and Drug Administration (FDA) attempted to conceal
     Pfizer’s clinical trial documents for 75 years. On Feb. 2, federal judge Mark Pittman issued an order requiring the FDA to
28   release redacted versions of the documents in question according to the following disclosure schedule:

                                                                    30
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1

2    10,000 pages apiece, due on or before March 1 and April 1, 2022.
     80,000 pages apiece, to be produced on or before May 2, June 1 and July 1, 2022.
3    70,000 pages to be produced on or before Aug. 1, 2022.
     55,000 pages per month, on or before the first business day of each month thereafter, until the release of the documents
4    has been completed.

5
     While mainstream media has not reported on the massive (and illegal) cover-up of vaccine injuries and deaths, the
6    Defender and Daily Clout have written articles and done interviews to help make sure the public has access to the
     documents where the government gave billions to Pfizer, mandated Americans to take the product, prohibited Americans
7    for suing, and attempted to deny Americans access to the data underlying licensure.

8
     The Defender From Children Health Defense (https://childrenshealthdefense.org)
9    Pfizer Document Dump Shows Doctor With Ties to Gates Foundation Deleted Trial Participant’s Vaccine Injury:
     https://childrenshealthdefense.org/defender/pfizer-document-doctor-gates-foundation-deleted-trial-vaccine-injury/
10

11   FDA Dumps More Pfizer Documents: Why Were So Many Adverse Events Reported as ‘Unrelated’ to Vaccine?
     https://childrenshealthdefense.org/defender/fda-pfizer-documents-vaccine-adverse-events/
12

13   Pfizer Knew Vaccine Injuries Were More Severe in People Under 55, Documents Reveal
     https://childrenshealthdefense.org/defender/pfizer-vaccine-injuries-more-severe-people-under-55/
14
     ‘Natural Immunity Works and Pfizer Knows It,’ FDA Document Dump Reveals
15
     https://childrenshealthdefense.org/defender/natural-immunity-pfizer-fda-document-dump/
16
     June 15th, 2022: Pfizer admits to fraud but claims because the government was their co-conspirators, the lawsuit against
17
     them should be dropped. A short interview with the prosecution attorney. https://rumble.com/v18ie08-attorney-robert-
     barnes-who-represents-brook-jacksons-case-against-pfizer.html
18

19
     The Daily Clout with Dr. Naomi Wolf: Watch this June 2nd interview with Dr. Naomi Wolf from TheFirstTV regarding
     the tragic and criminal truth about the Pfizer trials. https://rumble.com/v174zbr-new-pfizer-releases-more-documents.html
20

21
     Questions (Regulatory Capture)
     Can you imagine how the Environmental Protection Agency (EPA) would be influenced by oil interest if they received
22
     roughly half of their funding from the oil industry? Without question, everyone would know that the EPA had been
     severely compromised by the agenda of big oil. For nearly 50 years, Big Tobacco successfully convinced the public, by
23   capturing our regulatory agencies, that smoking did not cause lung cancer. Older generations can likely still remember the
     cigarette commercials that showed doctors smoking and encouraging other adults to smoke because it was “good” for
24   their health.
25   The regulatory agencies that regulate Big Oil and Big Tobacco were captured by the industries they were designed to
     regulate. Is the same also not true for the CDC, FDA, and mainstream media? How does financial conflict of interest
26   impact the safety (and efficacy) of the vaccine schedule and the bias of media reporting?
27   What's the probability that regulatory agencies—who receive a significant amount of their budget from pharmaceutical
     companies—have a conflict of interest and therefore unsafely rush drugs to the market that have not been through the
28   evidentiary standard process, thereby leading to the harming of patients?

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1
     Regulatory Agencies:
2                a. CDC- holds the most vaccine patents of any other company. They also make vaccine recommendations
                    and mandates.
3                         i. CDC compromised by bias and conflicts of interest: https://aapsonline.org/cdc-compromised-
                              by-bias-and-conflicts-of-interest/
4                        ii. Healthy People 2020- an agenda rolled out long before the pandemic (in 2010) would
                              mandate vaccines for children and adults in all states:
5                             https://www.cdc.gov/nchs/healthy_people/hp2020.htm
                        iii. Healthy People 2030- an agenda associated with the UN’s Immunization Agenda 2030 (see
6                             below), which will mandate the full schedule of vaccines for adults and children to travel
                              anywhere in the world. https://www.cdc.gov/nchs/healthy_people/hp2030/hp2030.htm
7
                 b. NIH- censored Dr. McCullough’s work. Please read this article regarding the corruption associated
                    with the pandemic, published on the NIH website:
8
                    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9062939/
9                c. HHS- https://www.hhs.gov/about/agencies/hhs-agencies-and-offices/index.html
                          i. The CDC, FDA, NIH (national institute of health) are all under the umbrella of the Health and
10                            human services (HHS)
                 d. WHO-
11                        i. how the pandemic led to corruption at the WHO:
                              https://childrenshealthdefense.org/defender/pandemic-corruption-world-health-organization/
12                       ii. The WHO has drafted a new global pandemic treaty, giving the WHO complete control over
                              global response to future pandemics: https://childrenshealthdefense.org/defender/pandemic-
13                            treaty-world-health-organization-cola/
                 e. FDA
14                        i. The FDA- a legacy of corruption: https://www.eurasiareview.com/12092021-a-legacy-of-
                              corruption-in-the-fda-and-big-pharma-oped/
15
                 f. official ICAN (Informed Consent Action Network) update below:
16
     On June 14-15, 2022, the FDA’s Vaccines and Related Biological Products
17
     Advisory Committee (VRBPAC) convened and voted to recommend an emergency
18   use authorization for both Moderna’s COVID-19 vaccine for children ages 6
19
     months to 17 years and Pfizer’s COVID-19 vaccine for children 6 months to 4
     years.
20

21   After the members introduce themselves, one of the first things done at these
     VRBPAC meetings is the reading of VRBPAC’s Conflict of Interest Statement
22
     which includes a statement that the “FDA has determined that all members of
23   this advisory committee, both regular and temporary members, are in
     compliance with federal ethics and conflicts of interest law.”
24

25   During the reading of the Conflict of Interest Statement on June 14, it was noted
26
     thatone temporary voting member, Dr. James Hildreth, had received
     a waiver allowing him to participate in the VRBPAC meeting. In his
27   Acknowledgement of Financial Interests form, Dr. Hildreth disclosed that both he
28   and his employer had financial interests that could be affected by the matter he

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                                                Affidavit
1
     was planning to voting on at VRBPAC.
2

3
     Namely, Dr. Hildreth’s employer, Meharry Medical College, is a COVID-19 vaccine
     trial site and expected to receive between $1.5 million to $2 million for
4    conducting that trial. Additionally, Meharry Medical College enrolled participants
5    in the trials for the very product that was being considered by him at VRBPAC –
     Moderna’s pediatric COVID-19 trials – for which it was to receive $400,000 -
6
     $600,000. Finally, Dr. Hildreth disclosed that he would personally make up to
7    $5,000 for enrolling participants in one of those trials.
8
     ICAN, through its attorneys, demanded that VRBPAC immediately remove Dr.
9    Hildreth as a temporary voting member, bar him from participating the following
10
     day, and discard his vote from that day’s meeting. Regardless of Dr. Hildreth’s
     experience or expertise, it was completely inappropriate for VRBPAC to proceed
11   with Dr. Hildreth’s participation given the nature of these conflicts of interest.
12
     VRBPAC instead, unbelievably, recited the very same Conflict of Interest
13
     Statement the next day, assuring the public that “all members” of VRBPAC “are
14   in compliance with federal ethics and conflicts of interest laws.” Not surprisingly,
     Dr. Hildreth voted “yes” to all three products being considered, two of which
15
     were Moderna pediatric vaccines.
16

17
     ICAN will continue to build the record and case against the improper actions by
     our federal “health” agencies so that they cannot claim ignorance when
18   judgment day arrives.
19
     To         share      this       legal update,      please       use       this
20
     link: https://www.icandecide.org/ican_press/fdas-advisory-committee-ignores-
21   members-conflict-of-interest-and-allows-him-to-attend-meetings-and-vote/
                                                            




22
              g.   NIAID- article regarding the corruption: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9062939/
23            h.   United Nations- originally founded by Rockefeller to promote petroleum based pharmaceutical
                   development (as mentioned above). The UN and WHO have joined forces to promote Immunization
24                 Agenda 2030, which will mandate than anyone entering or exiting the countries associated with the UN
                   show proof of vaccine. They even propose the possibility of vaccination stations at every border:
25                 https://www.immunizationagenda2030.org/ and Dr. Tenpenny & C Clark - The Vaccination Agenda Is
                   Darker Than Anyone Could Imagine: https://www.bitchute.com/video/BNIUycHbBaB4/
26            i.   The Great Barrington Declaration- a global group of infectious disease epidemiologists and public
                   health scientists, who have grave concerns about the damaging physical and mental health impacts of
27                 the prevailing COVID-19 policies, and recommend an approach they call Focused Protection.
                   https://gbdeclaration.org/
28


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1            j.   The “mass vaccination campaign” reference points to the scientific dangers of mass vaccination
                  campaigns from a world renowned vaccionologist, Dr. Geert Vanden Bossche. Mass Vaccination
2                 Campaigns, Dr. Geert Vanden Bossche, Vaccionologist Vaccines and subsequent booster injections
                  also place a narrow selection pressure on viruses that favors the developments of more virulent immune
3                 escape variants. An immune escape variant is the incomplete sterilization of the virus by the human
                  immune system, even following injection administration. Dr. Geert Vanden Bossche, a vaccinologist
4                 who has worked with many prominent vaccine programs within private industry and the government
                  warned The World Health Organization (WHO) in March of 2021 of the “uncontrollable monster” that
5                 global vaccination would create. In a 12 page plea and warning letter, he writes: “There can be no doubt
                  that continued mass vaccination campaigns will enable new, more infectious viral variants to become
6
                  increasingly dominant and ultimately result in a dramatic incline in new cases despite enhanced vaccine
                  coverage rates. There can be no doubt either that this situation will soon lead to complete resistance of
7
                  circulating variants to the current vaccines.”
8                 https://www.geertvandenbossche.org/_files/ugd/28d8fe_266039aeb27a4465988c37adec9cd1dc.pdf
                  Watch this interview with Dr. Geert Vanden Bossche and Dr. Robert Malone (inventor of mRNA
9                 technology) who raise concerns about the experimental gene therapy COVID injection in particular and
                  mass vaccination campaigns in general. This interview was on 9-25-21. Separately, see Dr. Robert
10                Malone’s statement on why he strongly recommends against injecting.

11   VII. Childhood vaccine injury & death
              a. There are over 12,000 peer reviewed, published articles documenting hundreds of various forms of
12               vaccine injury—many of which have caused grave injury to the immune system.
                 https://www.wellnessdoc.com/1200studies/ The purpose of a vaccine is to artificially induce an
13               antibody response by intentionally aggravating the immune system. Vaccines are known to be
                 immunogenic, tumorigenic, carcinogenic, and reactogenic—all of these reactions and responses can and
14
                 do negatively impact the immune system.
15            b. Adverse reactions associated with childhood vaccinations:
                        i.   Brain Inflammation/Acute Encephalopathy
16                     ii.   Chronic Nervous System Dysfunction
                     iii.    Anaphylaxis
17                    iv.    Febrile Seizures
                       v.    Guillain Barre Syndrome (GBS)
18                    vi.    Brachial Neuritis;
                     vii.    Acute and Chronic Arthritis
19                  viii.    Thrombocytopenia
                      ix.    Smallpox, polio, measles and varicella zoster vaccine strain infection
20                     x.    Death
                      xi.    Shock and “unusual shock-like state”
21                   xii.    Protracted, inconsolable crying
                    xiii.    Syncope
22                  xiv.     Deltoid Bursitis https://www.nvic.org/vaccination-decisions/know-the-risks

23           c.   Chronic Illnesses associated with childhood vaccine effects:
                        i.   Asthma (acute and chronic)
24                     ii.   atopy
                     iii.    allergies
25                    iv.    autoimmunity
                       v.    autism and other spectral disorders
26                    vi.    sensory processing disorders
                     vii.    learning disorders
27                  viii.    communication disorders
                      ix.    developmental disorders
28                     x.    intellectual disability


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                                              Affidavit
1                 xi.    attention deficit disorder (ADD) and attention deficit hyperactivity disorder (ADHD)
                 xii.    disruptive behavior disorder
2               xiii.    tics and Tourette’s syndrome
                xiv.     seizures and seizure disorders
3                xv.     febrile seizures
                xvi.     epilepsy https://www.nvic.org/vaccination-decisions/know-the-risks
4               xvii. Questions: Are these risks worth it to immunize against acute, self-limiting infectious
                      diseases? Are the diseases we’re vaccinating for even a real threat to my child(ren), at this
5                     age, in this place of the world at this time?

6        d.   Common adverse vaccine reactions can occur within 72 hours of a vaccine, these are reactions a child
              can experience:
7                   i.   pronounced swelling redness, heat or hardness at injection site that continues for days or weeks
                   ii.   full body rash or hives
8                 iii.   shock/collapse
                  iv.    unresponsiveness, prolonged deep sleep
9                  v.    high pitched screaming (may include arching of back in infants)
                  vi.    hours of persistent, inconsolable crying
10               vii.    high fever (over 103℉)
                viii.    respiratory distress (difficulty breathing)
11                ix.    twitching or jerking of the body, arm, leg or head
                   x.    rolling or crossing of eyes
12                xi.    severe head or neck pain
                 xii.    joint pain or muscle weakness
13              xiii.    debilitating fatigue
                 xiv.    loss of memory and mental skills
14                xv.    paralysis of any part of body, one side of the body, or full body paralysis
                 xvi.    changes in sleep/wake patterns and dramatic personality changes
15              xvii.    lack of eye contact or social withdrawal
               xviii.    loss of ability for an infant to roll over, sit up or stand up
16               xix.    head banging or unusual flapping, rubbing, rocking, spinning
                  xx.    onset of chronic ear or respiratory problems (including asthma)
17               xxi.    severe/persistent diarrhea or chronic constipation
                xxii.    excessive bruising, bleeding or anemia
18             xxiii.    other serious loss of physical, mental or emotional development or wellness
               xxiv.     death https://www.nvic.org/vaccination-decisions/know-the-risks
19
                xxv. Questions: Are these life-altering adverse events worth the waning immunity of the vaccines?
20                   Are these events worse than actually having the disease, itself? Most of the diseases we
                     vaccinate for are self-limiting, eventually resolving on their own, why would we risk
21                   permanent damage to ourselves to avoid a self-limiting disease?
         e.   All vaccine package inserts contain a section known as, “Post-marketing Experience” (Section 6.2) that
22            lists adverse events spontaneously reported after the vaccine’s licensure. You can find all package
              inserts at this link: https://www.immunin’tze.org/fda/
23                    i. Some of the troubling medical conditions linked to vaccines include:
                     ii. Encephalitis
24
                   iii. Encephalopathy
                    iv. measles inclusion body encephalitis (MIBE)
25
                     v. subacute sclerosing panencephalitis (SSPE)
26                  vi. Guillain-Barré syndrome (GBS)
                   vii. acute disseminated encephalomyelitis (ADEM)
27                viii. transverse myelitis
                    ix. febrile convulsions
28                   x. afebrile convulsions


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1                   xi. seizures
                   xii. ataxia
2                 xiii. polyneuritis
                   xiv. panniculitis
3                   xv. atypical measles
                   xvi. fever
4                 xvii. syncope
                 xviii. vasculitis
5                  xix. pancreatitis
                    xx. thrombocytopenia
6
                   xxi. purpura
                  xxii. regional lymphadenopathy
7
                 xxiii. leukocytosis
8                xxiv.  anaphylaxis
                  xxv.  Stevens-Johnson syndrome
9                xxvi.  acute hemorrhagic edema of infancy
                xxvii.  Henoch-Schönlein purpura
10             xxviii.  erythema multiforme
                 xxix.  urticaria
11                xxx.  nerve deafness
                 xxxi.  otitis media
12              xxxii.  retinitis
               xxxiii.  optic neuritis
13              xxxiv.  papillitis
                 xxxv.  epididymitis
14
                xxxvi.  orchitis
15             xxxvii.  death
              xxxviii.  Please note, while some of these side effects are acute and may resolve, the majority of them
16                      are permanent medical conditions, for a lifetime.
               xxxix. Questions: Why does the pharmaceutical industry and why do medical doctors routinely hide
17                      and downplay the diseases and injuries associated with vaccines? Why does the
                        pharmaceutical industry and why do medical doctors routinely hide and downplay the actual
18                      risk of having an adverse vaccine reaction, injury, or death?
         f.    Comprehensive analysis of VAERS data and death caused by DT, Td, DTaP, MMR, Oral Polio, Hep B,
19             HiB, and PRP vaccines: https://www.ncbi.nlm.nih.gov/books/NBK236284/
         g.    Sudden Infant Death Syndrome caused by vaccines, an analysis of VAERS data 1990-2019:
20             https://www.sciencedirect.com/science/article/pii/S2214750021001268
         h.    Statement (SIDS)
21
               An article written by Neil Z. Miller entitled Vaccines and sudden infant death: An analysis of the
               VAERS database 1990-2019 and review of the medical literature found that infant deaths and SIDS
22
               cases were not randomly distributed each day. Instead, infant mortality and SIDS cases reported to
23             VAERS tended to occur in temporal proximity to vaccine administration, that is, they cultured in the
               early post-vaccination period—Day 1 through Day 7.
24
               Question:
25             Does the positive temporal proximity to vaccine administration and SIDS suggest that vaccines are
               indeed not safe, but actually dangerous?
26       i.    Statement (Natural Diseases build immunity)
               Eliminating Measles Has Increased Cancer Rates. The mortality rate from measles declined by over
27             98% between 1900 and 1962 as living conditions improved in this country.
               Source: https://www.cdc.gov/nchs/data/vsus/VSUS_1962_2A.pdf. In 1962, a year before the first
28             measles vaccine, the CDC reported a total of 408 deaths.

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1             Source: https://www.cdc.gov/nchs/data/vsus/VSUS_1962_2A.pdf. That amounts to 1 in 500,000
              Americans at a time when measles infected nearly every American.
2             Source: https://www.census.gov/library/publications/1962/compendia/statab/83ed.html. Eliminating
              measles has, however, increased cancer rates. For example, the International Agency for Research on
3             Cancer found that individuals who never had measles had a 66% increased rate of Non-Hodgkin
              Lymphoma and a 233% increased rate of Hodgkin
4             Lymphoma.Source: https://www.ncbi.nlm.nih.gov/pubmed/16406019. Combined, these cancers killed
              20,960 Americans in 2018. Source: https://seer.cancer.gov/statfacts/html/hodg.html. As another
5             example, individuals who never had measles, mumps or rubella had a 50% increased rate of ovarian
              cancer. Source:https://www.ncbi.nlm.nih.gov/pubmed/16490323. In 2018, ovarian cancer killed 14,070
6
              Americans. Source: https://seer.cancer.gov/statfacts/html/ovary.html. Eliminating measles in this
              country has caused more deaths from cancer.
7

8             Question
              Does acquiring diseases and allowing our immune system to build a natural defense protect us from
9             other diseases, such as cancer?
         j.   Question (Vaccines crate susceptibility to other diseases)
10            DTaP Vaccine. The FDA and university scientists have discovered that those vaccinated with DTaP
              remain susceptible to become infected with pertussis, potentially every month, but will not display
11            symptoms and hence can silently transmit pertussis to others. In contrast, those unvaccinated to
              pertussis may have pertussis once, have symptoms and hence know to stay home, and then cannot be
12            infected again for many years.
              Source: https://www.ncbi.nlm.nih.gov/pubmed/24277828; https://www.ncbi.nlm.nih.gov/pubmed/3079
13            3754; https://www.ncbi.nlm. nih.gov/pubmed/29180031 (“neither DTP, nor DTaP or Tdap prevent
              asymptomatic infection and silent transmission of the pathogen”)
14

15            Question
              Is it possible for vaccines to create susceptibility to other diseases?
16       k.   Eliminating Mumps and Measles Has Increased Heart Disease. A 22-year prospective study of over
              100,000 individuals in Japan revealed that “measles and mumps, especially in case of both infections,
17            were associated with lower risks of mortality from atherosclerotic CVD [heart disease].”
              Source: https://www.ncbi.nlm.nih.gov/pubmed/26122188. Heart disease killed 610,000 Americans in
18            2018. Source: https://www.cdc.gov/heartdisease/facts.htm Eliminating our ecological relationship with
              measles, mumps and rubella has had serious unintended consequences.
19
              Questions:
20            -Does acquiring diseases and allowing our immune system to build a natural defense protect us from
              other diseases, such as cancer or heart disease?
21
              -Does acquiring natural immunity to the infectious diseases of measles, mumps, and rubella create a
22
              more durable and robust immune system that protects us from other chronic inflammatory diseases such
23            as cancer and heart disease?

24            -Does the DTP, DTap, and Tdap vaccines which silently transmit and thereby unknowingly infect and
              exponentially spread the pertussis pathogen actually cause more cases of pertussis than it prevents? Are
25            these vaccines the primary cause of recent pertussis outbreaks as the recent scientific evidence
              suggests?
26
              -What other unintended pernicious consequences of vaccination remain unknown to us?
27
              -How do we know that vaccines and the current vaccine schedule, which became the most aggressive
28            schedule in the world after the pharmaceutical manufacturers became indemnified from liability, is safe

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1                especially when HHS has been negligent in regards to reporting back to congress how vaccine safety
                 has been improved?
2            l. First family to ever receive autism reimbursement for vaccine injury:
                 https://www.cbsnews.com/news/family-to-receive-15m-plus-in-first-ever-vaccine-autism-court-award/
3            m. Vaccine toxicology safety data is also unfortunately not the robust science many of us assume and/or
                 hope it to be. In fact, many toxicologists are at odds with vaccinologists. We know the above listed
4                ingredients on their own are toxic and harmful to biological systems so we can only assume that when
                 these substances are combined, their toxicity levels must also increase exponentially. Again,
5                unfortunately there have been zero vaccine synergistic toxicity safety studies. We scientifically can not
                 say we know the potential harm and risks of vaccines as the science simply has never been done. We
6
                 therefore, cannot also make the deceitful blanket statement that “the science is settled” in regards to
                 vaccines as the science simply has never been done. For a more complete list of vaccine ingredients
7
                 please visit: https://learntherisk.org/vaccines/ingredients/
8    VIII.   Childhood vaccine mandates
             a. Growing up in the 1980’s, there were 7 total recommended vaccines between birth and age 18. Now, in
9                2022 in the state of California, there are 34 required vaccine doses between birth and age 18. There are
                 69 recommended doses between birth and age 18 and 50 of those doses are before age 6.
10               https://www.nvic.org/newsletter/oct-2017/is-the-childhood-vaccine-schedule-safe According to the
                 California mandates:
11                     i. Child care requirements in CA:
                           https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/School/childcare-
12                         immunizations.aspx
                      ii. K-12 requirements in CA:
13                         https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/School/tk-12-
                           immunizations.aspx
14
                     iii. Post-High School and College requirements in CA:
15                         https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/Immunization/School/college.aspx
                     iv. CDC recommendations birth to age 18:
16                         https://www.cdc.gov/vaccines/schedules/hcp/imz/child-adolescent.html
             b. The vaccines schedule also violates many common-sense standards. For example, the Hepatitis B
17               vaccine is recommended for all newborn babies, regardless of their mother’s hepatitis B status. Testing
                 for Hepatitis B is a mandatory part of any prenatal lab panel. Hepatitis B is a disease of the liver caused
18               by the Hepatitis B virus, which is most commonly spread by exposure to infected body fluids. The most
                 common routes of exposure are through sexual contact or from IV drug use with dirty needles.
19               https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3092064/ This begs the question, why are we
                 vaccinating newborns less than 24 hours old, if the mother tests negative for hepatitis B, is in a
20               monogamous sexual relationship and does not use IV drugs? Babies/Infants are mandated to receive 3
                 doses of Hepatitis B by 18 months. By the time the child is old enough to have sex or potentially use
21
                 IV drugs, the vaccine-induced immunity will have diminished.
                       i. The Hepatitis B vaccine schedule also continues to violate many standard medical protocols.
22
                           For example, the Hepatitis B vaccine contains 250 mcg of the neurotoxic metal aluminum.
23                         Yet, assuming the average birth weight of a newborn is 7.7 pounds, 250 mcg of aluminum is a
                           horrific 14.3 times above the safety standards recommended by the government regarding
24                         aluminum exposure. Vaccines do not take into account dosage based on weight, whereas
                           every other form of medication is dosed based on weight. For example, a 350 pound person
25                         receives the same dosage of a Hepatitis B vaccine, as does a 7 pound baby. Again, why are we
                           exposing innocent babies to such high levels of a known neurotoxin that has proven study after
26                         study, to cause detrimental damage to the brain and nervous system? The impressive body of
                           work by aluminum researchers Christopher Exley PhD and Christopher Shaw PhD proves this
27                         point. https://childrenshealthdefense.org/news/high-aluminum-found-autism-brain-tissue/
                           https://childrenshealthdefense.org/news/high-aluminum-found-autism-braintissue/
28                         https://pubmed.ncbi.nlm.nih.gov/22099159/

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1        c.   Since vaccine manufacturers were given legal immunity in 1986, the children’s vaccine schedule has
              tripled, children’s chronic illness has also increased from 12.8% in 1986 to a staggering 54% according
2             to a 2011 peer reviewed study. https://pubmed.ncbi.nlm.nih.gov/21570014/ According to the CDC, one
              in every six children now has a learning disability. Our children are suffering from dramatic increases in
3             ADHD, learning disabilities, developmental delays, autism, and other intellectual disabilities. Our
              children are also suffering astronomical increases in diseases such as asthma, behavior problems,
4             anxiety, environmental illness, obesity, autoimmunity and childhood cancers. And yet despite this
              alarming trend, the CDC and other governmental health agencies refuse to study a possible correlation
5             between the massive increase in the vaccine schedule to the massive decline in our children’s health.
              https://www.cdc.gov/ncbddd/developmentaldisabilities/about.html
6
                     i. With the tripling of the vaccine schedule the direct amount of exposure to our children from
                         toxic adjuvants, neurotoxins, carcinogens, contaminated retroviruses, genetically modified
7
                         yeast and bacteria, heavy metals, light metals, foreign DNA from animals and fetal tissues, and
8                        synthetic chemicals—to name a few—has also grown exponentially in unprecedented
                         amounts. https://learntherisk.org/vaccines/ingredients/
9                   ii. Questions: Why has the Childhood schedule exponentially increased in such a short period of
                         time? Does this have anything to do with vaccine manufacturers’ immunity from liability?
10                 iii. Studies comparing the health of vaccinated versus unvaccinated children unanimously show
                         that unvaccinated children are healthier than vaccinated children. Here are a few examples of
11                       this:
                               1. Researchers at The Control Group recently published their vaccinated vs.
12                                unvaccinated study: https://www.thecontrolgroup.org/gallery
                               2. A study entitled, “Relative Incidence of Office Visits and Cumulative Rates of Billed
13                                Diagnoses Along the Axis of Vaccination” was published in the International Journal
                                  of Environmental Research and Public Health by James Lyonds-Weiler PhD and Paul
14
                                  Thomas MD in 2021. https://www.mdpi.com/1660-4601/17/22/8674
15                             3. Another study entitled, “Pilot Comparative Study on the Health of Vaccinated and
                                  Unvaccinated 6-12 Year-Old U.S. Children” was published in the Journal of
16                                Translational Science by Mawson and colleagues in 2017.
                                  https://electromedicine.org.au/wp-content/uploads/2020/05/JTS-3-186.pdf
17                             4. Another study entitled, “Analysis of Health Outcomes in Vaccinated and
                                  Unvaccinated Children: Developmental Delays, Asthma, Ear Infections and
18                                Gastrointestinal Disorders” was published in the Sage Journal of Open Medicine in by
                                  Hooker and Miller in 2020.
19                                https://journals.sagepub.com/doi/10.1177/2050312120925344
         d.   Attorney Greg Glaser of California represents vaccine injured families. He wrote a comprehensive
20            letter to the Senate exposing Senator Pan’s conflicts of interest, and how Senator Pan presented false
              data to the legislature to pass childhood mandates in California without a vote. Please read this
21
              thorough and thoughtful critique: https://childrenshealthdefense.org/wp-content/uploads/Glaser-Letter-
              Opposing-SB-276.pdf
22
         e.   22 minute animated educational video on the United States Vaccine Schedule: After his son died from
23            vaccination, this father (Ryan) takes a 20 year educational journey trying to understand what caused his
              son (Liam) to die from vaccine injury. This animated video provides an excellent overview of the
24            vaccine program in the United States, as well as the staggering rise of childhood illnesses and
              developmental disorders, which coincide with the significant addition of vaccine shots added to the
25            schedule. In violation of free speech, it was censured from Youtube, but Children’s Heath Defense
              Fund has published it. https://childrenshealthdefense.org/defender/vaccine-secrets-parentsshould-know-
26            before-vaccinate/?utm_source=salsa&eType=EmailBlastContent&eId=b82a52cd-0574-4716-b24c-
              baa7eb9f378f
27       f.   With the passage of California’s SB 277, vaccine medical exemptions for school aged children were
              revoked and are now practically impossible to obtain as doctors fear and experience retribution from
28            state agencies. Most people don't realize that fatalities from childhood infectious diseases had already

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1             decreased by almost 100% before the introduction of any vaccine. The information obtained from
              official government records on graph number 20 at the following website of Dr. Suzanne Humphries
2             reveal this fact. http://www.dissolvingillusions.com/graphs/ What Dr. Humphries also brilliantly
              explained in her book written with co-author Roman Bystrianyk called, “Dissolving Illusions,” was that
3             vaccines did not statistically contribute to the reduction of fatalities from any childhood infectious
              diseases. The real reasons health outcomes started to dramatically improve at the turn of the 20th
4             century were advancements in civil engineering of public sewage, water treatment facilities, sanitation,
              plumbing as well as improvements in hygiene practices, housing, refrigeration, nutrition, regulations of
5             the dairy and meat industry, and the passage of childhood labor laws.
         g.   Immunologist Dr. Tetyana Obukhanych argues that unvaccinated children do not endanger the public
6
              for primarily two reasons:
                     i. Most vaccines are not designed to prevent transmission of infection, but rather they are
7
                        intended to prevent or reduce disease symptoms if the person becomes infected, and
8                   ii. Some of the vaccines are for diseases not easily transmitted in a school setting such as hepatitis
                        B or are non-communicable diseases such as tetanus.
9                       http://www.greenmedinfo.com/blog/open-letter-legislators-considering-vaccinelegislation-
                        tetyana-obukhanych-phd
10       h.   Unfortunately, regardless of risk factors for adverse vaccine reactions, parents are forced through
              coercion to vaccinate their children in order to have access to a constitutionally guaranteed education in
11            the states of: California, New York, Connecticut, Maine, Mississippi, and West Virginia.
              https://www.ncsl.org/research/health/school-immunization-exemption-state-laws.aspx This, to say the
12            least are immoral policies that violates parental rights, children’s rights, the Nuremberg code of ethics,
              medical ethics, and the doctor-patient relationship. Parents and children should never be put in such
13            perilous circumstances.
                     i. In states that have mandated childhood vaccines, children have some of the worst health
14
                        outcomes: https://childrenshealthdefense.org/news/the-unhealthiest-state-in-america-has-the-
15                      best-vaccination-rate/ and they have the highest infant death rates:
                        https://childrenshealthdefense.org/vaccine-secrets/video-chapters/vaccines-may-be-making-
16                      american-infants-sicker/
         i.   It is important to emphasize what Dr. Tetyana Obukhanych reveals regarding vaccines and diseases.
17            Most vaccines do not prophylactically prevent the spread of infection—this is also true for the COVID-
              19 vaccines. Vaccines potentially only offer personal protection for the vaccinated individual. If they
18            become ill with the targeted disease, antibodies created by the process of vaccination can theoretically
              provide some protection. Of course, we must assume that primary vaccine failure did not occur. We
19            must also assume that the successful creation of intended antibodies match the pathogens which can
              mutate over time and that the antibodies have not waned in significant numbers. And of course, we
20            know from Pfizer’s own studies and from recent peer reviewed scientific literature that Pfizer's
              antibodies wane in significant numbers two to six months after their second dose. Dr. Jay Bhattacharya,
21
              an epidemiologist at Stanford University explains that COVID-19 vaccination is primarily a matter of
              personal health and not public health. Stanford Epidemiologist Says COVID Vaccination Is Primarily a
22
              Matter of Personal Health, Not Public Health | Eric Brakey: https://fee.org/articles/stanford-
23            epidemiologist-says-covid-vaccination-is-primarily-a-matter-of-personal-health-not-public-health/
         j.   In light of this understanding, we must challenge the notion that continues to demonize, shame, and
24            blame unvaccinated people for the spread of disease as this simply is not true. Remember healthy
              people do not spread disease and people that have recovered naturally from COVID-19 infection are the
25            one’s actually protecting the herd and sterilizing and weakening the virus with their innate immune
              response. Unvaccinated people do not succumb to the disease any more than their vaccinated peers and
26            unvaccinated people do not spread or transmit disease any more or any faster than their vaccinated
              peers. In other words, vaccinated people can become just as sick and can transmit the disease just as
27            often as unvaccinated people. This fact is made clear by scientists who studied a big COVID-19
              outbreak in Massachusetts and concluded that vaccinated people who got so-called breakthrough
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1                infections carried about the same amount of the coronavirus as those who did not get the shots.
                 https://www.cdc.gov/mmwr/volumes/70/wr/mm7031e2.htm?s_cid=mm7031e2_w
2           k. Also, a recent study published in September 2021, in the European Journal of Epidemiology, examined
                 68 countries and 2,947 counties in the United States and concluded that higher vaccination rates are not
3                associated with fewer COVID cases. https://link.springer.com/article/10.1007/s10654-021-00808-7 In
                 fact the study found a slightly positive association with increased vaccination rates to increased new
4                COVID-19 cases. The authors found, “At the country-level, there appears to be no discernible
                 relationship between percentage of population fully vaccinated and new COVID-19 cases in the last 7
5                days (Fig. 1). In fact, the trend line suggests a marginally positive association such that countries with
                 higher percentage of population fully vaccinated have higher COVID-19 cases per 1 million people.
6
                 Notably, Israel with over 60% of their population fully vaccinated had the highest COVID-19 cases per
                 1 million people in the last 7 days. The lack of a meaningful association between percentage population
7
                 fully vaccinated and new COVID-19 cases is further exemplified, for instance, by comparison of
8                Iceland and Portugal. Both countries have over 75% of their population fully vaccinated and have more
                 COVID-19 cases per 1 million people than countries such as Vietnam and South Africa that have
9                around 10% of their population fully vaccinated.”
         l. Data recently released by the Centers for Disease Control and Prevention (CDC) showed that between Dec.
10          14, 2020, and Oct. 15, 2021, a total of 818,044 adverse reactions following COVID vaccines were reported
            to the Vaccine Adverse Event Reporting System (VAERS), while 29,273 have died from COVID vaccines.
11          https://www.medalerts.org/vaersdb/findfield.php?%20TABLE=ON&GROUP1=CAT&EVENTS=ON&VA
            X=COVID19The%20data%20also%20included%20a%20total%20of%2017,128%20of%20deaths.%20https
12          ://www.medalerts.org/vaersdb/findfield.php?%20TABLE=ON&GROUP1=AGE&EVENTS=ON&VAX=C
            OVID19&DIED=Yes
13       m. Questions: What do state governments gain from mandating childhood vaccines? How can mandates be
            legal when there is so much injury, death and chronic diseases caused by vaccines?
14
     IX. COVID-19 vaccine mandates
15          a. CDC never analyzed VAERS data for safety of COVID-19 vaccines prior to the mandates:
                 https://childrenshealthdefense.org/defender/cdc-vaers-covid-vaccine-safety/
16          b. Pfizer classified almost all severe adverse reactions to their vaccines during their vaccine trials as “not
                 related to the shots https://childrenshealthdefense.org/defender/pfizer-covid-vaccine-trials-adverse-
17               events-shots-fda-eua-documents/
            c. Evidence shows that vaccinated individuals are more likely to become infected with COVID-19:
18               https://childrenshealthdefense.org/defender/pfizer-moderna-covid-vaccines-infection/
            d. As vaccine mandates threaten our right to education, work, travel, and the ability to move freely in
19               society, we must contend with the notion that the state and the pharmaceutical industry increasingly
                 have ownership over our own precious bodies, minds, and souls—as they attempt to create a segregated
20               society based on vaccination status. We must never forget—we have never been on the right side of
                 history when we have allowed propaganda, hysteria, and fear to justify harming, dehumanizing, and
21
                 segregating people. Since vaccine mandates violate the basic principles of medical ethics and bodily
                 sovereignty they can also be viewed as forms of medical fascism and tyranny. We must have the
22
                 medical choice and innate freedom to determine what gets injected into our bodies—especially since
23               vaccines are known to cause severe injuries and death. Vaccine mandates are not the benevolent state
                 policies implemented to safeguard public health, but rather a wolf dressed in sheep’s clothing used to
24               weaponize public health against the people. Again, vaccines must be a choice as your neighbor does not
                 need to get vaccinated in order for your vaccine to work. https://mises.org/library/mandatory-covid-19-
25               vaccination-unethical-and-unscientific
            e. Natural Immunity is superior and longer lasting than vaccine-induced immunity.
26                     i. The fact that natural immunity is denied, negated, and ignored in regards to the vaccine
                           passport system is also deeply disturbing, problematic, and very suspect. This is especially true
27                         given that natural cell-mediated immunity is well known to provide more robust, durable, and
                           long lasting immunity compared to vaccine induced artificial immunity. This long held
28                         scientific understanding is further demonstrated in a recent publication that compared the Delta

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1                       variant breakthrough infections, symptomatic disease, and hospitalizations between people that
                        had naturally acquired immunity and people that had been vaccinated with the PfizerBioNTech
2                       vaccine. The study found vaccinated people had a 13.06 increase breakthrough infection rate
                        with the Delta variant compared to natural acquired immunity and that vaccinated people also
3                       had a 7.13-fold (95% CI, 5.51 to 9.21) increased risk for symptomatic disease, and a greater
                        risk for COVID-19-relatedhospitalizations compared to those that were previously infected.
4                       The researchers concluded: “This analysis demonstrated that natural immunity affords longer
                        lasting and stronger protection against infection, symptomatic disease and hospitalization due
5                       to the delta variant.” https://www.medrxiv.org/content/ 10.1101/2021.08.24.21262415v1
                    ii. The Children’s Health Defense also complied a list of 81 studies that confirm natural
6
                        immunity to COVID-19 is superior to vaccine immunity. They write, “This follow-up chart is
                        the most updated and comprehensive library list of 81 of the highest-quality, complete, most
7
                        robust scientific studies and evidence reports/ position statements on natural immunity as
8                       compared to the COVID-19 vaccine-induced immunity and allows you to draw your own
                        conclusion.” https://childrenshealthdefense.org/defender/research-natural-immunity-
9                       covidbrownstone-institute/
         f.   Vaccine Mandates are not based on science. The Children’s Health Defense complied a list of 21
10            studies showing vaccine mandates are not based on science. They write, “The following research
              papers and studies raise doubts that COVID vaccine mandates are backed by science and good public-
11            health practice.” Many of these studies also expose the harm to the community caused by COVID-19
              vaccination practices. https://childrenshealthdefense.org/defender/science-studies-covid-vaccine-
12            mandates/
         g.   Nuremberg Code- 10 principles: https://www.ushmm.org/information/exhibitions/online-
13            exhibitions/special-focus/doctors-trial/nuremberg-code
                     i. “The voluntary consent of the human subject is absolutely essential. This means that the
14                      person involved should have legal capacity to give consent; should be so situated as to be able
                        to exercise free power of choice, without the intervention of any element of force, fraud,
15                      deceit, duress, over-reaching, or other ulterior form of constraint or coercion; and should have
                        sufficient knowledge and comprehension of the elements of the subject matter involved as to
16                      enable him to make an understanding and enlightened decision. This latter element requires
                        that before the acceptance of an affirmative decision by the experimental subject there should
17                      be made known to him the nature, duration, and purpose of the experiment; the method and
                        means by which it is to be conducted; all inconveniences and hazards reasonably to be
18                      expected; and the effects upon his health or person which may possibly come from his
                        participation in the experiment.
19                  ii. The duty and responsibility for ascertaining the quality of the consent rests upon each
                        individual who initiates, directs or engages in the experiment. It is a personal duty and
20                      responsibility which may not be delegated to another with impunity.
                  iii. The experiment should be such as to yield fruitful results for the good of society,
21                      unprocurable by other methods or means of study, and not random and unnecessary in
                        nature.
22                 iv. The experiment should be so designed and based on the results of animal
                        experimentation and a knowledge of the natural history of the disease or other problem
23                      under study that the anticipated results will justify the performance of the experiment.
                    v. The experiment should be so conducted as to avoid all unnecessary physical and mental
24                      suffering and injury.
                   vi. No experiment should be conducted where there is an a priori reason to believe that
25                      death or disabling injury will occur; except, perhaps, in those experiments where the
                        experimental physicians also serve as subjects.
26                vii. The degree of risk to be taken should never exceed that determined by the humanitarian
                        importance of the problem to be solved by the experiment.
27               viii. Proper preparations should be made and adequate facilities provided to protect the
                        experimental subject against even remote possibilities of injury, disability, or death.
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1                    ix. The experiment should be conducted only by scientifically qualified persons. The highest
                          degree of skill and care should be required through all stages of the experiment of those
2                         who conduct or engage in the experiment.
                      x. During the course of the experiment the human subject should be at liberty to bring the
3                         experiment to an end if he has reached the physical or mental state where continuation of
                          the experiment seems to him to be impossible.
4                    xi. During the course of the experiment the scientist in charge must be prepared to
                          terminate the experiment at any stage, if he has probably cause to believe, in the exercise
5                         of the good faith, superior skill and careful judgment required of him that a continuation
                          of the experiment is likely to result in injury, disability, or death to the experimental
6                         subject.” https://www.ushmm.org/information/exhibitions/online-exhibitions/special-
                          focus/doctors-trial/nuremberg-code
7                   xii. Questions (Nuremberg Code) Consent is voluntary, not manipulated by threat of losing a
                          job, inability to travel, so the COVID vaccine mandates have violated this principle, how is
8                         this legal? Those who were administering the vaccines never divulged the dangers, the injuries
                          or even the possibility of death, isn’t this another violation of this code? With the vast number
9                         of injuries and death after vaccination, how does this “yield fruitful results for the good of
                          society?” With the rushed experimentation, the manipulated results and the hiding of those
10                        results, how can we ensure the COVID vaccinations are actually safe for humans? Physical
                          and mental suffering and injury have not been avoided, in fact, they’ve been inflicted by the
11                        mandates, why has this been allowed to continue? Death and disabilities have occurred, the
                          risk is very high, there are no protections for those who have received the vaccines, isn’t this
12                        inhumane? Qualified persons may have given the vaccines, but in many cases, these people
                          were volunteers at pop-ups, so how can we be sure? Given that 2nd and 3rd jabs were required,
13                        this violates the 9th principle of the code, those who had started receiving vaccines had to finish
                          the series, otherwise their livelihood may have been threatened, isn’t this another violation?
14                        Despite all of the carnage, this COVID vaccine experiment has not been terminated, how can
                          we let so many people become injured with no accountability on behalf of the companies that
                          manufacture the vaccines? Hasn’t every tenant of the Nuremberg code been violated here?
15
     X. Ineffectiveness of COVID-19 vaccines
            a. Is the COVID Injection effective?
16
                       i. A New York study released February 28th, 2022 showed the effectiveness of Pfizer’s
17                        COVID-19 vaccine in 5- to 11-year-olds was only 12% after a seven-week period of
                          observation. https:// www.medrxiv.org/content/10.1101/2022.02.25.22271454v1.full.pdf Read
18                        more analysis here: https://childrenshealthdefense.org/defender/pfizer-vaccine-only-12-
                          percent-effective-kids-5- to-11/
19                    ii. A study published Sept. 30, 2021 in the peer-reviewed European Journal of Epidemiology
                          Vaccines found “no discernible relationship” between the percentage of population fully
20                        vaccinated and new COVID cases. In fact, the study found the most fully vaccinated nations
                          had the highest number of new COVID cases, based on the researchers’ analysis of emerging
21                        data during a seven-day period in September.
                          https://childrenshealthdefense.org/defender/fully-vaccinated-countries-highest-number-new-
22                        covid-cases/
                    iii. In this 7 minute video Robert F Kennedy, Jr. says It’s Time to Follow The Science as he
23
                          surfaces studies from John Hopkins, the CDC, Nature, The Office of National Statistics from
24                        England and Wales, the Lancet, Kaiser, as well as countries—Israel, England, Australia—
                          whose data collection is far superior to that of the United States. Particularly noteworthy is the
25                        myth that the COVID injections prevent hospitalizations and death. Data from Israel shows
                          that 90% of people who are hospitalized and dying from Covid are injected/vaccinated.
26                        Similarly, England shows that 90% of people who are hospitalized or dying from Covid are
                          injected/vaccinated, with 4 out of 5 of being triple injected/vaccinated. Australia shows that
27                        80% of people who are hospitalized or dying from Covid have been injected/vaccinated. The
                          science shows that not only are the injections unnecessary and ineffective, but they are also
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1                        dangerous. https://childrenshealthdefense.org/child-health-topics/health-freedom/its-time-to-
                         follow-the-science/
2                   iv. On April 3rd, 2022, Meryl Nass. M.D. analyzed large population data from the UK and the
                         United States and writes an article with the following head line: It's Official! CDC and UK
3                        government data reveal the COVID vaccines do not prevent cases, transmission, severe illness
                         or deaths https://merylnass.substack.com/p/its-official-cdc-and-uk-government?s=r
4                    v. On August 8th, 2021, Centers for Disease Control and Prevention (CDC) Director Dr.
                         Rochelle Walensky said: “The vaccines no longer prevent transmission.”
5                        https://newsrescue.com/cdcdirector-inadvertently-destroys-argument-for-vaccine-passports-by-
                         surprisingly-saying-vaccinesdo-not-prevent-transmission-video/
6
                    vi. On January 10th, 2022, Pfizer CEO Says 2 Shots Offer ‘Very Limited Protection, if Any’
                         Against COVID: A two-dose regimen of Pfizer’s COVID vaccine “offers very limited
7
                         protection, if any” against the Omicron variant, Pfizer CEO Albert Bourla said during an
8                        interview on CNBC’s “Squawk Box.” https://www.cnbc.com/2022/01/10/first-on-cnbc-cnbc-
                         transcript-pfizer-chairmanand-ceo-albert-bourla-speaks-with-cnbcs-squawk-box-today.html
9                  vii. In a new University of California study (October 4th, 2021) of more than 500 injected and
                         noninjected people who tested positive for COVID, the amounts of virus in saliva were the
10                       same. They could transmit the infection to others, equally.
                         https://www.ucdavis.edu/health/covid-19/news/viral-loads-similar-between-vaccinated-and-
11                       unvaccinated-people
                  viii. In Barnstable, Massachusetts, July 2021 CDC MMWR a study found that in 469 cases of
12                       COVID-19, there were 74% that occurred in fully vaccinated persons. “The vaccinated had on
                         average more virus in their nose than the unvaccinated who were infected.”
13                       https://pubmed.ncbi.nlm.nih.gov/34351882
                    ix. Waning Immunity after the BNT162b2 Vaccine in Israel: “Immunity against the delta variant
14
                         of SARS-CoV-2 waned in all age groups a few months after receipt of the second dose of
15                       vaccine.” https://www.nejm.org/doi/full/10.1056/NEJMoa2114228
                     x. There are also concerns regarding the effectiveness of the injection as different COVID-19
16                       strains continue to change and mutate. Scientist also warn trying to outsmart the virus with
                         booster injections could create new variants that could be more virulent and contagious then
17                       the ones before. https://www.anhinternational.org/news/think-like-a-doctor-scientist-ecologist-
                         andeconomist-then-become-a-conscientious-objector/ . It is also important to recognize that
18                       each consecutive booster injection increases the potential for severe and life-threatening
                         allergic reactions, as well as chronic inflammatory disease and disorders.
19                     Questions: If the vaccine has not been proven effective, why do we continue to give it? With the
                       ineffectiveness and the lack of safety, why are these vaccines allowed to stay on the market?
20                     Shouldn’t they be recalled?
     XI. COVID-19 vaccine injury & death
21
           a. Over 400,000 COVID-19 vaccine deaths reported to VAERS, and yet, there has been no recall to the
               vaccines. https://jennifermargulis.substack.com/p/40000-deaths-but-no-
22
               recall?r=dddid&s=r&utm_campaign=post&utm_medium=email&fbclid=IwAR2uy7BQp1bLe9n5WEd
23             8cMdlwCZaM26o_ufSgi25mRpBOTt-bsttBAe3Klo
           b. Recently, the Centers for Disease Control and Prevention (CDC) released new data showing a total of
24             1,261,149 reports of adverse events following COVID-19 vaccines were submitted between Dec. 14,
               2020, and May 6, 2022, to VAERS. The data included a total of 27,968 reports of deaths — an increase
25             of 210 over the previous week — and 228,477 serious injuries, including deaths, during the same time
               period.
26             https://www.medalerts.org/vaersdb/findfield.php?TABLE=ON&GROUP1=CAT&EVENTS=ON&VA
               X=COVID19 and
27             https://www.medalerts.org/vaersdb/findfield.php?TABLE=ON&GROUP1=AGE&EVENTS=ON&VA
               X=COVID19&DIED=Yes and
28


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1           https://www.medalerts.org/vaersdb/findfield.php?TABLE=ON&GROUP1=AGE&EVENTS=ON&VA
            X=COVID19&SERIOUS=ON
2           Questions: Prior to COIVD-19 if a drug killed 50 people it was immediately pulled off the shelves.
            Why are our regulatory agencies not doing their job? Are they captured by Big Pharma?
3        c. Pfizer asks the court to dismiss the whistleblower because the government knew about the fraud:
            https://childrenshealthdefense.org/defender/pfizer-whistleblower-lawsuit-fraud/
4        d. As of May 27, 2022- 14,181 people reported being permanently disabled after receiving COVID-19
            shots. https://childrenshealthdefense.org/defender/disabled-americans-covid-vaccine-rollout-cola/
5        e. 1.3 million reports of COVID-19 vaccine injuries reported to VAERS (with an estimated reporting rate
            of only ~1%), CDC still meets to approve vaccines for children under age 5
6
            https://childrenshealthdefense.org/defender/covid-vaccine-injuries-vaers-data-cdc-meeting-kids/
         f. COVID vaccines linked to a fatal degenerative brain disorder:
7
            https://childrenshealthdefense.org/defender/covid-vaccines-incurable-fatal-degenerative-brain-disorder/
8        g. 1,287,595 Injuries Reported After COVID Shots, Vaccine Injury Compensation Programs
            Overwhelmed: https://childrenshealthdefense.org/defender/injuries-covid-shots-vaccine-vaers/
9        h. Young males have highest risk of permanent heart damage and sudden cardiac death from COVID
            vaccines: https://childrenshealthdefense.org/defender/young-males-heart-risk-pfizer-moderna-vaccines/
10       i. A researcher at Kingston University in London, has completed an extensive analysis of the VAERs data
            (a subdepartment of the CDC that collects voluntary vaccine complication data), in which he grouped
11          reported deaths following the vaccines according to the manufacturer’s lot numbers of the vaccines.
            Vaccines are manufactured in large batches called lots. What he discovered was that the vaccines are
12          divided into over 20,000 lots and that one out of every 200 of these batches (lots) is demonstrably
            deadly to anyone who receives a vaccine from that lot, which includes thousands of vaccine doses. He
13          examined all manufactured vaccines — Pfizer, Moderna, Johnson and Johnson (Janssen), etc. He found
            that among every 200 batches of the vaccine from Pfizer and other makers, one batch of the 200 was
14
            found to be over 50x more deadly than vaccines batches from other lots.
15          https://www.thedesertreview.com/opinion/columnists/sudden-death-by-hot-lot---dr-michael-yeadon-
            sounds-the-alarm/article_221655d0-7d5e-11ec-b3d5-5701b978e3d9.html
16       j. Pfizer vaccines reduces sperm quality: https://childrenshealthdefense.org/defender/pfizer-covid-
            vaccine-sperm/
17       k. Dr. Sherri Tenpenny also explains how COVID-19 injections can cause injury and death through 20
            mechanisms of injury (MOI). A few of the MOI include: Death through anaphylactic shock caused by
18          previous exposure to polyethylene glycol [PEG]; the creation of spike proteins that can lead to
            pulmonary artery hypertension, infertility, disruption of the blood brain barrier, and other chronic
19          neurological diseases; and lastly, COVID-19 injections have also been associated with Vaccine Induced
            Prothrombotic Immune Thrombocytopenia (VIPIT), thereby creating deadly blood clots. This two page
20          document gives a brief summary of these 20 mechanisms of injury.
            https://files.constantcontact.com/15c678ac701/e636ccf0-a723-4113-b414-eec1f1aa03b0.pdf
21
         l. Physicians for Informed Consent are a group of doctors whose objective is to safeguard informed
            consent in vaccination. They published a statement this summer regarding Pfizer’s COVID-19- Vaccine
22
            Risk Assessment that gives clear and concise facts regarding a more accurate risk and benefit evaluation
23          of the mRNA injection. https://physiciansforinformedconsent.org/wp-content/uploads/2021/02/Pfizer-
            COVID-19-Vaccine-Risk-Statement.pdf
24       m. Increased emergency cardiovascular events among under-40 population in Israel during vaccine rollout
            and third COVID-19 wave. https://pubmed.ncbi.nlm.nih.gov/35484304/
25       n. The following is a link to congressional testimony about three military whistle-blowing doctors (Samuel
            Sigoloff MD, Peter Chambers MD, and Theresa Long MD) who reported a massive cover-up of
26          numerous vaccine injuries that occurred in military personal following their COVID-19 injections.
            Exposing Military Corruption: https://www.onenewspage.com/video/20220127/14233912/quot-
27          Exposing-Military-Corruption-quot-Terminal-CWO.htm
         o. The CDC is also investigating reports of myocarditis and pericarditis (heart problems) in teens
28          following COVID-19 vaccinations and confirmed the death of two 16-year-olds and one 17-year-old.

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1             Recently researchers lead by Tracy Beth Hoeg MD, PhD from UC Davis found boys between the ages
              of 12 and 15 years-old, with no underlining medical conditions, were four to six times more likely to be
2             diagnosed with vaccinerelated myocarditis than they were to being hospitalized with COVID. Boys had
              significantly more risk for vaccine induced myocarditis than girls. https://
3             www.medrxiv.org/content/10.1101/2021.08.30.21262866v1
         p.   500,000 Germans severely injured by COVID-19 vaccines:
4             https://childrenshealthdefense.org/defender/germans-severely-injured-covid-vaccines/
         q.   Adverse events from Pfizer vaccine trials were reported as “not related to the vaccine,” These
5             documents reveal, despite the occurrence of a wide range of symptoms, including serious
              cardiovascular events, almost none were identified as being “related” to the vaccine. Such serious yet
6
              “unrelated” adverse events included:
                     i. Acute asthma exacerbation
7
                    ii. Aortic aneurysm (listed as a pre-existing condition)
8                 iii. Appendicitis (requiring hospitalization)
                   iv. Atrial defibrillation
9                   v. Cardiac arrest and acute respiratory failure, requiring hospitalization, sustained by a patient
                        who then was “lost” (could not be located for continued participation in the trial)
10                 vi. Chest pain (requiring hospitalization, later listed as cardiac ischemia)
                  vii. Coronary artery occlusion (listed as both serious and life-threatening)
11               viii. Injuries sustained from a fall
                   ix. Intermittent non-cardiac chest pain (requiring hospitalization)
12                  x. Left breast cancer (listed as a pre-existing occult malignancy)
                   xi. Neuritis (peripheral nerve Injury), listed as “unrelated” to the vaccine but related to the blood
13                      draw during vaccination
                  xii. Pulmonary embolism and bilateral deep venous thrombosis
14
                 xiii. Respiratory failure (requiring hospitalization)
15               xiv. Right ureteropelvic junction obstruction (requiring hospitalization, listed as congenital)
                  xv. Small bowel obstruction, listed as “unplanned,” and a panic attack
16                      https://childrenshealthdefense.org/defender/fda-pfizer-documents-vaccine-adverse-
                        events/Small bowel obstruction, listed as “unplanned,” and a panic attack
17                      https://childrenshealthdefense.org/defender/fda-pfizer-documents-vaccine-adverse-events/
         r.   On January 26th 2022, three military doctors (Doctors Samuel Sigoloff, Peter Chambers, and Theresa
18            Long) say medical billing code data captured by The Department of Defense Medical Epidemiology
              Database shows sharp spikes in vaccine injuries, such as miscarriages, myocarditis, cancer diagnoses,
19            neurological disease, and female infertility, to name a few. Please see highlights of the injuries below:
              https://justthenews.com/politics-policy/coronavirus/covidpanel-military-service-members-see-spikes-
20            miscarriages-cancer
                     i. Myocarditis: 28 times higher
21
                    ii. 300% increase in miscarriages in the military during the first 10 months of 2021 over the five-
                        year average
22
                  iii. 300% increase in cancer diagnoses, from a 38,700-per-year average to 114,645 in 2021
23                 iv. Pulmonary embolism: 468% increase
                    v. Diseases of the nervous system: 1,048% increase
24                 vi. Female infertility: 472% increase
                  vii. Malignant neoplasms of the esophagus: 894% increase
25               viii. Multiple sclerosis: 680% increase
                   ix. Hypertension: 2,181% increase
26                  x. Malignant neoplasms of digestive organs: 624% increase
                   xi. Guillain–Barré syndrome: 551% increase
27                xii. Breast cancer: 487% increase
                 xiii. Demyelinating: 487% increase
28               xiv. Malignant neoplasms of thyroid and other endocrine glands: 474% increase.

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1                           xv. Migraines: 452% increase
                           xvi. Ovarian dysfunction: 437% increase
2                         xvii. Testicular cancer: 369% increase
                         xviii. Tachycardia: 302% increase
3                          xix. Additional data The Blaze received from Renz showed: a 269% increase in myocardial
                                infarction, 291% increase in Bell’s palsy, 156% increase in congenital malformations of
4                               military members' children, 471% increase in female infertility, and 467% increase in
                                pulmonary embolisms
5                 s.   Adverse Events Rise in Babies Breastfed by Vaccinated Mothers https://dailyclout.io/adverse-events-
                       rise-in-babies-breastfed-by-vaccinated-mothers/
6
                  t.   Adverse Events in Women who are Pregnant or Breastfeeding:
7    “In the Pfizer documents that were released thanks to legal force, there is data on reported adverse events since the rollout
     of the vaccine. On pages 12-13 of the document labeled “postmarketing-experience” Dr. Wolf’s Team 5 found:
8
             28% of the 270 pregnancies + 4 fetus/baby cases of adverse events were categorized as serious, including:
9                 o    Miscarriages
                  o    Fetal deaths
10
                  o    Uterine contractions
11                o    Pre-term deliveries
12                o    Premature rupture of membranes
                  o    Fetal growth restrictions
13
             Breastfed babies were reported to have effects such as:
14                o    Infantile vomiting

15                o    Fever
                  o    Rash
16
                  o    Agitation
17                o    Allergy to the vaccine
             4 nursing women reported adverse events such as:
18
                  o    Partial paralysis
19                o    Suppressed lactation

20                o    Breastmilk discoloration
                  o    Breast pain
21
                    o Migraines
     The document concludes that no serious adverse events have been detected. Dr. Wolf again questions whether we, as
22
     citizens of the United States of America, must begin to consider if all of these signs put together point to a serious
     national security breach. She has never seen anything as bad as what we’re seeing today in her 30 years in journalism.”
23
     https://dailyclout.io/vaccinated-women-and-babies-in-more-danger-than-ever/
                    u. VAERS reports on Reproductive Health Adverse Effects from COVID vaccines December 2020
24
                         through June 2022. Remember, it’s estimated that only 1% of cases are actually even reported to
25                       VAERS. Here’s the data:
                              i. In Women:
26                                    1. Miscarriage- 4,771 cases
                                      2. Menstrual disorders- 27,995 cases
27                                    3. Vaginal/Uterine hemorrhages- 10,769 cases
                                      4. Cesarian/Pre-term Labor/Birth difficulties- 624
28                                    5. Stillbirths- 135 cases


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1                           ii. In Men:
                                    1. Testicular Pain/Swelling- 1,788 cases
2                                   2. Erectile Dysfunction- 788 cases
                                    3. https://openvaers.com/covid-data/reproductive-health
3                 v.   Pfizer Vaccine risks to unborn babies:

4    “Pfizer’s Table 6 (excerpted in Fig. 1, on the link) notes that 124 of 270 vaccinated mothers (46%) experienced adverse or
     serious adverse events. A total of 75 of these mothers (28%) and 4 additional unborn babies or neonates were reported to
5    have had serious adverse events after the mothers received the mRNA vaccine. Of the 36 babies for which Pfizer knew
     the outcome, 25 died before birth and 3 died at birth. The babies’ deaths are categorized as follows:
6
             23 spontaneous abortions
7
             2 spontaneous abortions with intrauterine death
8            2 premature births with neonatal death

9            1 spontaneous abortion with neonatal death

10   Thus 28 out of 36 babies with known outcomes died at or before birth—a crude mortality rate of 78%.This suggests a
     mortality rate much higher than normal (10% for early pregnancies; less than 1% for pregnancies that last longer than 20
11   weeks). But we must keep in mind that these data are incomplete; Pfizer reported no information on 238 babies. For a
     truly valid estimate of the mortality rate, one would need either the complete data set or a random sample. Pfizer collected
12   neither.” https://dailyclout.io/the-facts-about-pfizer-mrna-vaccine-risks-to-unborn-babies/
                    w. First Investigation into the spike in newborn baby deaths in Scottland, linked to COVID vaccines:
13                      https://www.heraldscotland.com/news/19726487.investigation-launched-abnormal-spike-newborn-
                        baby-deaths-scotland/
14                  x. Second Investigation on the spike in newborn baby deaths in Scottland linked to COVID vaccines:
                        https://www.scotsman.com/health/second-investigation-launched-into-spike-in-newborn-baby-deaths-
15                      in-scotland-3694235
                    y. In this updated document for parents, Doctors for COVID Ethics presents a comprehensive risk vs.
16                      benefit analysis of the use of the Pfizer and Moderna COVID-19 vaccines in children and adolescents.
                        This document provides a comprehensive risk-benefit analysis of the use of the Pfizer and Moderna
17                      COVID-19 vaccines in children and adolescents, and it makes the case that the vaccines are neither
                        needed nor safe and have not been proven to be efficacious, particularly when considering the Omicron
18                      variant of SARS-CoV-2, which currently dominates worldwide. In addition to the evidence of manifest
                        harm from the US and EU adverse event reporting systems, it also addresses the risk of genotoxicity of
19                      the mRNA vaccines, which due to recent experimental evidence of their integration into host cell
                        genomes must be considered urgent. https://doctors4covidethics.org/wp-
20                      content/uploads/2022/05/pfizer-moderna-public.pdf
                    z. U.S. researchers (Lead researcher: Tracy Beth Høeg MD, PhD from UC Davis) found boys between the
21                      ages of 12 and 15, with no underlying medical conditions, were four to six times more likely to be
                        hospitalized with vaccine-related myocarditis than they were to be hospitalized for COVID itself. Boys
22
                        have significantly more risk for myocarditis than girls. https://
23                      www.medrxiv.org/content/10.1101/2021.08.30.21262866v1.
                    aa. The focus on injury through myocarditis is diverting focus away from other injection injuries. In
24                      regards to authorizing the experimental COVID-19 injection for children ages 5-11 the FDA invited
                        Steve Kirsch, founder of the COVID-19 Early Treatment Fund, to give a presentation during the open
25                      session of the Related Biological Products Advisory Committee meeting. He had 100 extremely
                        important questions and relevant facts for the FDA to consider that was presented in 161 slides. Some
26                      of the concerns Steve Kirsch expressed included 1.) The risk-benefit case for ages 5-11 is based solely
                        on hypotheticals, 2.) The FDA assumes myocarditis is the only severe adverse event (SAE) and did not
27                      consider any of the other SAE’s like death, pulmonary embolism, cardiac arrest, intracranial
                        hemorrhage, etc. that were the cause of death in 14 child death cases analyzed by the CDC, and 3.) How
28                      can the FDA do an accurate risk-benefit analysis when they do not consider the underreporting factor

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1                  (URF) which according to CDC methodology is 41. When this is taken into consideration there are over
                   300,000 excessive deaths in VAERS. To see the full slide show and list of all questions click the link
2                  below. https://vaccineliberationarmy.com/wpcontent/uploads/2021/10/KIds-Death-via-Vaccines-slide-
                   showVRBPAC-10-26-21.pdf
3            bb.   Other recent studies suggest potential long-term neurological, immunological, and reproductive harm.
                   In new research published in Microbiology & Infectious Diseases, immunologist J. Bart Classen warns
4                  the experimental mRNA technology used in the Pfizer and Moderna COVID injections could create
                   “new potential mechanisms” of adverse events that may take years to come to light.
5                  https://scivisionpub.com/pdfs/covid19-rna-based-vaccines-and-the-risk-of-priondisease-1503.pdf
             cc.   VAERS COVID Vaccine Data Show Surge in Reports of Serious Injuries, as 5-Year-Olds Start Getting
6
                   Injections. The Centers for Disease Control and Prevention released new data showing a total of
                   927,740 reports of adverse events following COVID injections were submitted between Dec. 14, 2020,
7
                   and Nov. 26, 2021, to the Vaccine Adverse Event Reporting System (VAERS)
8                  https://www.medalerts.org/vaersdb/findfield.php?TABLE=ON&GROUP1=CAT&EVENTS=ON&VA
                   X=COVID19 . VAERS is the primary government funded system for reporting adverse vaccine
9                  reactions in the U.S. The data included a total of 19,532 reports of deaths — an increase of 283 over the
                   previous week — and 146,720 reports of serious injuries, including deaths, during the same time period
10                 — up 3,325 compared with the previous week.
                   https://www.medalerts.org/vaersdb/findfield.php?TABLE=ON&GROUP1=AGE&EVENTS=ON&VA
11                 X=COVID19&DIED=Yes
             dd.   There have been more deaths reported to VAERS for COVID injections in 10 months than were
12                 reported for every vaccine used in the U.S. over a 30 year period. This bears repeating: If you add
                   together every report of a vaccine-associated death that has ever been reported to VAERS for 30
13                 years, for all vaccines, the total is less than the deaths reported for COVID injections.
                   https://childrenshealthdefense.org/defender/meryl-nass-disciplinary-action-licensing-board-define-
14
                   covidmisinformation/
15           ee.   Questions: Historically, if more than 50 people were injured from a vaccine, it was recalled, why are
                   government officials allowing COVID vaccines to continue, when they are causing such a massive
16                 amount of injury and death? With over a 90% survival rate, why must we vaccinate for COVID, given
                   the risks? Legislation is passing for children, toddlers and infants to receive the COVID vaccines, and
17                 they are the most resilient to COVID infection, and also the most vulnerable to injury and death, how
                   can we let this happen? What are the policy makers gaining to allow this legislation to pass?
18
     XII. Mandates based on Misinformation:
19           a. “One of the saddest lessons of history is this: If we’ve been bamboozled long enough, we tend to reject
                any evidence of the bamboozle. We’re no longer interested in finding out the truth. The bamboozle has
20              captured us. It’s simply too painful to acknowledge, even to ourselves, that we’ve been taken. Once
                you give a charlatan power over you, you almost never get it back.” ~Carl Sagan
21
             b. ‘Unnecessary, misleading, catastrophic’: Senior European physicians co-author expert statement on
                COVID injection for children. https://americasfrontlinedoctors.org/2/frontlinenews/unnecessary-
22
                misleading-catastrophic-senior-european-physicians-co-author-expert-statement-on-covid-vaccine-for-
23              children/
             c. Dr. Mike Yeadon, former vice president and chief scientist for allergy and respirator at Pfizer, also
24              expressed his uncertainty about the safety of mRNA technology and said young healthy people
                shouldn’t be coerced into taking the “experimental” injection. When he left his position at Pfizer 10
25              years ago, he said scientists were “miles away” from creating a product that could be safely
                administered to everyone. Dr. Yeadon also said, “I have two healthy adult girls, 25 and 29 years-old,
26              and I would be really upset if they ended up being coerced into taking these products because they’re
                healthy and young, and there are not any measurable risks from COVID-19.” To listen to his full
27              interview with Bobby Kennedy Jr. go to the following link:
                https://childrenshealthdefense.org/defender/dr-mike-yeadon-rfk-jr-the-defender-podcast-safety-mrna-
28              vaccine-technology/

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1            d. Questions: So many people believe the mainstream narrative that these COVID vaccines are safe and
                effective, how much will people have to suffer before the government admits their mistakes? Will
2               anyone take accountability for all of the injury and death caused by COVD vaccines?
     XIII.   Homeoprophylaxis for COVID
3            a. Advantages of homeoprophylaxis over vaccines:
                -“Patients can help themselves with these remedies anywhere. They do not need to go to a clinic to be
4               treated. They can take them on-the-go.
                -People can purchase the remedies without a prescription, which is critical when the medical
5               community is overwhelmed by the increasing number of ill patients at hospitals or private clinics.
                -No patient testing is needed in order to find the appropriate homeopathic remedy.
6
                -Homeopathic remedies are incredibly safe because they do not contain chemicals or toxins.
                -We will never run out of homeopathic remedies since they can be diluted. In fact, diluting them makes
7
                them stronger! As crazy as it sounds, one bottle of a homeopathic remedy can save a city!
8               -The remedies start working immediately in the body. Note that vaccines need time to “take” in the
                body (for the immunoglobulins to be formed), not to mention that vaccines need time to be
9               manufactured.
                -Homeopathic remedies are inexpensive, therefore, available for the masses.
10              -Patients can help themselves, their families, their neighbors, their community, their city, etc. Once
                patients are told by homeopaths what remedy to use, and how to use it, they can disseminate this
11              information to everyone they know. Therefore, in a short period of time a city can heal itself!
                -Consider the possibility of concurrent epidemics and the need to administer various vaccines. How
12              many types of vaccines would we need to address these epidemics sufficiently? What are the potential
                implications for children and pregnant women? With homeopathic remedies, we can tackle multiple
13              diseases simultaneously, without concern for interactions among the different remedies taken by the
                patient. Of course, this takes skill on the part of the practitioner. Avoid treating yourself during a
14
                serious illness- always consult with a homeopath. Becoming proficient in homeopathy takes years of
15              study and experience.
                -Homeopathic remedies can be taken without any concern for interactions with patients’ pharmaceutical
16              medications. There are no negative drug-remedy interactions.
                -Homeopathic remedies take a few different forms. They are typically made of sugar and come in pellet
17              form. These pellets are made of sugar, and they dissolve easily in the patient’s mouth. They do not need
                to be swallowed, and therefore, anyone (including infants) can easily take them.
18              -What happens when the virus adapts and changes? Coming up with another suitable vaccine for the
                new strain or form of the virus can potentially take many more months to years. Choosing an
19              appropriate remedy, as always, will be a much quicker process.”
             COVID-19 & Homeopathy: Beyond handwashing, masks and quarantines - Natural Medicine Bellevue,
20           Kent (drsharif.com)
21
             b.   The homeopathic blueprint for the COVID-19 Nosode and dosing indications for people in various
                  states of the disease process:
22
                  https://www.lotuswellnesscottage.com/uploads/1/5/7/1/15713144/covid_excerpt_pdf.pdf
23           c.   Over the last 10-15 years, the governments of three countries, namely Cuba, India, and Brazil, have run
                  large scale homeoprophylaxis (meaning the use of homeopathic remedies for immunization and
24                prevention of disease) studies, involving more than 90 million people per year. These studies
                  demonstrated 75-95% effectiveness on the part of homeopathic remedies for prevention of a variety of
25                serious epidemic diseases in those countries with no negative side effects or adverse reactions…none.
                  The conclusion of this comprehensive article was: “Homeoprophylaxis can provide governments a very
26                economical, practical, safe and effective option to combat infectious diseases in both short and long-
                  term disease outbreaks.” Large-Scale-Homoeoprophylaxis.pdf (drsharif.com)
27           d.   Brazil used COVID-19 Homeoprophylaxis nation wide with great success rates and zero harm:
                  http://scielo.sld.cu/scielo.php?pid=S1561-31942021000100021&script=sci_arttext&tlng=en
28


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1                 e.   COVID HP study with 437 people who took the COVID nosode and then were exposed to multiple and
                       various strains of coronavirus and not a single participant came down with COVID. This video
2                      explains the details and conclusions of the study: https://thewholejourney.com/covid-19-vaccine-
                       alternatives-and-complements/
3                 f.   Successful use of COVID Nosodes in China and India:
                       https://www.etvbharat.com/english/national/sukhibhava/sukhibhava-news/covid-19-nosode-
4                      homeopathic-pills/na20210412201917121
                  g.   Another COVID HP successful research study: https://www.littlemountainhomeopathy.com/covid-
5                      nosode-research-review
                  h.   Cuba & India use COVID HP for the pandemic. “As of June 10, 2020, Cuba reports 195 infections per
6
                       million of population. In contrast, the US reports 6,182 per million and the UK reports 4,260, per
                       million. India still impresses with 199 per million. COVID-19 related deaths per million are reported as:
7
                       US – 345, UK – 602, India – 6, Cuba – 7.” https://homeopathyplus.com/cuba-using-homeopathy-for-
8                      covid-19/
                  i.    Homeopathic Information on COVID Treatment, Prevention and Nosodes. Note, there is a different
9                      remedy for every different strain of COVID: https://homeopathyplus.com/wp-
                       content/uploads/2021/09/Options-Nosodes-Treatment-Prevention.pdf?link_list=6244015
10                j.   “After nearly a full year, we have finally published the first rigorous study that uses a homeopathic
                       nosode as a potential preventive measure in Covid-19 in over 2,000 subjects. This multi-arm placebo
11                     controlled pilot study is now being followed up by a larger clinical trial.”
                       https://www.nhcmed.com/further-reading/topic-immune-resilience/published-study-homeopathy-and-
12                     covid-19.html
                  k.   “Conclusions: Regardless of age of participant or previous health condition, the Novus-CV nosode
13                     can be used before, during, or after demonstration of Covid-19 symptom expression, to prevent
                       disease, mitigate active disease and resolve past disease. With no associated adverse events
14
                       reported, these results suggest Novus-CV nosode offers the world a low-risk disease prevention
15                     method that is 100% effective in those with definite exposure that deserves consideration in
                       public health programs. Covid-19-like disease’ is the term we are using for the compilation of
16                     symptoms registrants had or developed during the study period. As no comprehensive testing or official
                       diagnosis process was undertaken, subjective reports of the registrants and respondents was used to
17                     evaluate if they had a symptom expression consistent with the CDC description of the disease. Adverse
                       events as defined by the National Institute of Health guidelines for research on human subject is defined
18                     as a death, life-threatening adverse drug or device experience, inpatient hospitalization or prolongation
                       of existing hospitalization, a persistent disability/incapacity, or a congenital anomaly/birth defect.
19                     Throughout the research the tenets of homoeopathy were verified. The symptoms produced and
                       resolved after dosing corresponded with the active disease presentation and ranged from short-lived,
20                     mild fevers, cough, vomiting and diarrhea, and general malaise to feelings of well-being and increased
                       vitality; activation of acute discharges and fevers brought forth wellbeing. This catalogued Materia
21
                       Medica can be used as the indications for effective clinical prescribing; it also offers insight into the
                       nature of susceptibility of Covid-19 as we evolve through this epidemic, the homoeopathic principles of
22
                       like cures like and acute disease resolves chronic disease, and it supports the concept that the miasmatic
23                     root of disease may be accountable for contagion. Accordingly, with the positive health effects noted in
                       those with active or unresolved disease, Novus-CV is effective to treat or as an adjunct to treatment in
24                     active and unresolved cases.” https://freeandhealthychildren.files.wordpress.com/2021/07/similia-june-
                       2021-article-kate-birch-et-al.pdf
25
                                                       The Naturopathic Oath:
26
           I dedicate myself to the service of humanity as a practitioner of the art and science of naturopathic medicine.
27
     By precept, education and example, I will assist and encourage others to strengthen their health, reduce risks for disease,
28                          and preserve the health of our planet for ourselves and future generations.


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1                                       I will continually endeavor to improve my abilities.
              I will conduct my life and practice of naturopathic medicine with integrity and freedom from prejudice.
2
                                         I will keep confident what should not be divulged.
3
                                        I will honor the principles of naturopathic medicine:
4                                                       First, to do no harm.

5                                        To co-operate with the healing powers of nature.
                                           To address the fundamental causes of disease.
6
                                    To heal the whole person through individualized treatment.
7
                                To teach the principles of healthy living and preventative medicine.
8    With my whole heart, before these witnesses, as a Doctor of Naturopathic Medicine, I pledge to remain true to this oath.
9                                          https://aanmc.org/about/naturopathic-medical-doctors-oath/

10   How the principles of Naturopathic Medicine apply to vaccines versus Homeoprophylaxis:
     First, do no harm- vaccines can be harmful. Mandating vaccines can be harmful. Homeoprophylaxis is much safer
11   (absolutely not harmful), and more effective than vaccines at inducing immunity.
     Co-operate with the healing powers of nature- homeoprophylaxis stimulates the immune system through a natural
12   entry route. We usually catch infectious diseases by way of the germs entering in through one of our orifices, we
     introduce HP orally, and this automatically signals the immune system’s attention without the need for any other toxic
13   ingredients to accomplish that. Whereas vaccination is not natural. Vaccines are man made, synthetic substances, which
     contain numerous toxins. We do not catch infections by way of injection, so many of those toxic ingredients are
14   necessary to grab the immune system’s attention. Vaccines are immune suppressive and toxic. Vaccines can induce
     injury, chronic illnesses, neurotoxicity, autoimmunity and cancer.
15   In addressing the fundamental causes of disease, we find that many of the ingredients/adjuvants in vaccines are
     associated with causing acute and chronic diseases, injury, and death. From an Environmental Medicine perspective, we
16   want to eliminate toxins from the body, such as heavy metals, which can be the underlying cause of many diseases; we
     also want to limit our exposures to such toxins, to prevent future development of disease.
     Individualized treatment- there is no one size fits all in medicine. Every person is unique, there is no one treatment
17
     suitable for everyone, including vaccines.
     Principles of healthy living and prevention- Homeoprophylaxis is the healthier choice over vaccines to maintain
18
     current health and prevent future development of diseases. HP educates the immune system to be more intelligent,
     whereas vaccines create immune suppression. A more intelligent immune system means a healthier future.
19

20   According to the United States Court of Appeals for the Fifth Circuit No. 21-60845:
        1. “Finding ‘cause to believe there are grave statutory and constitutional issues with the Mandate’… the Mandate
21          imposes a financial burden upon them by deputizing their participation in OSHA’s regulatory scheme, exposes
            them to severe financial risk if they refuse or fail to comply, and threatens to decimate their workforces (and
22          business prospects) by forcing unwilling employees to take their shots, take their tests, or hit the road.” p.4
            Questions: Who will be responsible for vaccine injury or death due to these mandates? Will those who choose to
23          quit their jobs, rather than get the vaccine be able to find another job that also does not require it, or will they
            have to go on unemployment? How much is it costing the government to have such a high unemployment rate
24          because of this? How many people have already lost their jobs or experienced vaccine injury by the time this
            decision was made? Is the government qualified to make medical deicisions?
25      2. “the Mandate is a one-size-fits-all sledgehammer that makes hardly any attempt to account for differences in
            workplaces (and workers) that have more than a little bearing on workers’ varying degrees of susceptibility to
26
            the supposedly “grave danger” the Mandate purports to address.” p.8
            Questions: There is no one-size-fits-all in medicine, what works for one person, may injure the next, how can
27
            this blanket mandate be applied to everyone? With an over 90% survival rate, why are they referring to COVID
28          as a “grave danger,” when the real danger is the vaccines?


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1        3.    “All else equal, a 28 year-old trucker spending the bulk of his workday in the solitude of his cab is simply less
               vulnerable to COVID-19 than a 62 year-old prison janitor. Likewise, a naturally immune unvaccinated worker is
2              presumably at less risk than an unvaccinated worker who has never had the virus. The list goes on, but one
               constant remains- the Mandate fails almost completely to address, or even respond to, much of this reality and
3              common sense.” p.13
               Questions: People have different susceptibilities, why would we treat them all the same? Natural immunity is far
4              superior and long lasting than is vaccine-induced immunity, so why would the mandate require those with
               natural immunity to be vaccinated? Vaccinating those who have already had COVID exposes them to much
5              higher amounts of the spike proteins, which cause vascular inflammation and micro clots, so mandating those
               who have already had COVID to be vaccinated for COVID could create more sequelae and adverse reactions,
6
               how is this humane?
         4.    “the Mandate likely exceeds the federal government's authority under the Commerce Clause because it regulates
7
               noneconomic inactivity that falls squarely within the State’s police power. A person’s choice to remain
8              unvaccinated and forgo regular testing is noneconomic inactivity. And to mandate that a person receive a
               vaccine or undergo testing falls squarely within the State’s police power.” p.16 “The Commerce Clause power
9              may be expansive, but it does not grant Congress the power to regulate noneconomic inactivity traditionally
               within the States’ police power.” p.17
10             Questions: What did the federal government gain for enforcing this mandate? What did OSHA gain from
               enforcing it? How many people lost their jobs or were injured because of it?
11       5.    “the major questions doctrine confirms that the Mandate exceeds the bounds of OSHA’s statutory authority.”
               p.17
12             Questions: Who allowed OSHA to do this and why? Does OSHA have any consequences for their actions?
               Who will be held accountable for the economic destruction, the vaccine injury and death caused by these
13             mandates?
         6.    OSHA imposed financial penalties on the companies that did not comply. p,19
14
               Questions: Was OSHA financially benefiting from vaccine manufacturers for enforcing these mandates? How
15             much money did OSHA make from the vaccine manufacturers and from the companies that did not comply?
               What happens with that money? Could that money go toward compensating people who lost their jobs or had
16             vaccine injury? Could that money go to families who lost a loved one due to vaccine death?
         7.    OSHA “violates the constitutional structure that safeguards our collective liberty.” p.20
17             Questions: Is mandating vaccines and excluding religious exemptions from vaccines a violation of the 1st
               Amendment? Are these vaccine mandates a violation of our rights of personal autonomy and bodily integrity,
18             and the right to reject medical treatment outlined in the 14th Amendment? Aren’t vaccine mandates a direct
               violation of all 10 principles of the Nuremberg Code?
19
     Conclusion:
20   “If a law is unjust, a man is not only right to disobey it, he is obligated to do so.” ~Thomas Jefferson
21
     As a Naturopathic Doctor, my COVID treatment success rate was 100% effective. I was helping people immunize
     against COVID-19 using a very safe and effective method, long before the COVID vaccines became available. I treated
22
     many patients who had COVID, and none of my patients were hospitalized, and none of them died. When the COVID
23   vaccines became mandated, I helped people overcome the mandate. Now, the mandates have been shown to be unethical,
     illegal and harmful. As outlined here, vaccines come with many risks, adverse reactions and the possibility of sudden
24   death. Since vaccine manufacturers have no legal liability or accountability for these risks, they tend to manipulate their
     own safety studies and fast-track their way onto the market. Billions of dollars are spent marketing vaccines, even pitting
25   vaccinated people against unvaccinated people. Policy makers can add new vaccines to the childhood mandates as they
     please. It’s clear that as the childhood vaccine schedule has increased, so has the rate of chronic disease in children. The
26   states that mandate vaccines for children have the worst childhood health outcomes and the highest infant death rates. We
     need to wake up to this agenda before we create a world of sickness for the future generations.
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